                                                      Related
     Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24     DDJ 1 of 362 Page ID #:1
                                                            Page
                                                                                                                   FILED
                                                                                                         CLERK, U.S. DISTRICT COURT



                                                                                                            3/29/24
                                                                                                                  4
1         (Full
   ________________________   Name)                                                                         cs
                                                                                                       CENTRAL DISTRICT OF CALIFORNIA
                                                                                                         BY: ___________________ DEPUTY



2           (Email Address)
       ________________________
                                                     '            
3     ________________________ (Address Line 1)

4        ! "  #!$ %&
      ________________________(Address Line 2)

5        ( ) 
      ________________________(Phone Number)

6     Plaintiff in Pro Per
7
8                                       UNITED STATES DISTRICT COURT
9                                     CENTRAL DISTRICT OF CALIFORNIA
10                                                                              CV24-2642-FMO(MAR)
                                                   Case No.: ______________________
11    __________________________,                                                        (To be supplied by the Clerk)
12                                 Plaintiff,
13     vs.                                                              Civil Rights Complaint Pursuant to
       5 " ,
                * #  
14      (   , 
                    4  * 9 
                       
      ______________________________                                   42 U.S.C. § 1983 (non-prisoners)
15       
          
       4   ) $ #!
            "    
                        +:'
                            
                             !*
      ______________________________
        +
          *
        5    ( 
                     ,,
              ,+ "
16    ______________________________                                   Jury Trial Demanded: Yes
                                                                                            3     No
         +
      + 41
         ( 7  8
                   "  --
                             6!*
                              ." 
                                     /+  0
17          
      ______________________________
18                            Defendant(s).
19
20                                              (All paragraphs and pages must be numbered.)

21                                                     I. JURISDICTION
22    1. This court has jurisdiction under 28 U.S.C. § 1331 and 28 U.S.C. § 1343.
23    Federal question jurisdiction arises pursuant to 42 U.S.C. § 1983.
24
25                                                             II. VENUE
26                                                                   1
      2. Venue is proper pursuant to 28 U.S.C. § 1391 because ____________________
             *  #  - * --2                     
27    __________________________________________________________________
28    __________________________________________________________________
                                                                  
                                                                ________
        Form prepared by Public                                 Page Number
        Counsel. © 2010, 203 Public
        Counsel. All rights reserved.
        Revised: 2FWREHU 203
                                           Civil Rights Complaint Pursuant to U.S.C. § 1983
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 2 of 362 Page ID #:2
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 3 of 362 Page ID #:3
     Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 4 of 362 Page ID #:4




1                                                     III. PARTIES
2
3     3.                    .  -   &
                Plaintiff ______________________________________________resides at:
                                                         (your full name)
4          %1 $ (
      __________________________________________________________________
5         ) $ $ "!
      __________________________________________________________________.
                                                          (your address)
6
              (You should specifically identify each Defendant you intend to sue in a separate, numbered paragraph.)
7
8                           
      4. Defendant ____________________________________________ works at
                                                      (full name of Defendant)
9       ! / 1   $ "
      __________________________________________________________________.
                                                    (Defendant’s place of work)
10
11
                                             '1# ,1 22
          Defendant’s title or position is _________________________________________.
12                                                           (Defendant’s title or position at place of work)
13    This Defendant is sued in his/her (check one or both):
14               individual capacity                                             
                                                                                  0 official capacity
15    This Defendant was acting under color of law because: _____________________
16    __________________________________________________________________
17    __________________________________________________________________
18
19                           
          5. Defendant ____________________________________________ works at
                                                      (full name of Defendant)
20
        !! *  $2  $ "
      __________________________________________________________________.
21                                                  (Defendant’s place of work)

22                                      + # & % /
      Defendant’s title or position is _________________________________________.
      .                                                       (Defendant’s title or position at place of work)
23
24        This Defendant is sued in his/her (check one or both):
25               individual capacity                  0 official capacity
26    This Defendant was acting under color of law because: _____________________
27    __________________________________________________________________
28    __________________________________________________________________
                                                           ________
                                                           Page Number

                                        Civil Rights Complaint Pursuant to U.S.C. § 1983
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 5 of 362 Page ID #:5
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 6 of 362 Page ID #:6
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 7 of 362 Page ID #:7
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 8 of 362 Page ID #:8
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 9 of 362 Page ID #:9
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 10 of 362 Page ID #:10
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 11 of 362 Page ID #:11
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 12 of 362 Page ID #:12
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 13 of 362 Page ID #:13
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 14 of 362 Page ID #:14
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 15 of 362 Page ID #:15
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 16 of 362 Page ID #:16
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 17 of 362 Page ID #:17
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 18 of 362 Page ID #:18
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 19 of 362 Page ID #:19
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 20 of 362 Page ID #:20
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 21 of 362 Page ID #:21
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 22 of 362 Page ID #:22
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 23 of 362 Page ID #:23
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 24 of 362 Page ID #:24
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 25 of 362 Page ID #:25
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 26 of 362 Page ID #:26
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 27 of 362 Page ID #:27
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 28 of 362 Page ID #:28
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 29 of 362 Page ID #:29
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 30 of 362 Page ID #:30
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 31 of 362 Page ID #:31
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 32 of 362 Page ID #:32
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 33 of 362 Page ID #:33
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 34 of 362 Page ID #:34
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 35 of 362 Page ID #:35
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 36 of 362 Page ID #:36
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 37 of 362 Page ID #:37
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 38 of 362 Page ID #:38
 Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 39 of 362 Page ID #:39




1                    Kentrell DeSean Gaulden (NBA Youngboy) works at
     ___. Defendant ____________________________________________
     Insert ¶ #                              (full name of Defendant)
2              1290 Avenue Of The Americas, New York, NY,
     __________________________________________________________________.
3                                            (Defendant’s place of work)

4
5                                              Artist @ Atlantic Records
     Defendant’s title or position is _________________________________________.
                                                       (Defendant’s title or position at place of work)
6
     This Defendant is sued in his/her (check one or both):
7
                   individual capacity                                     official capacity
8
9                                                         defendant is a part of
     This Defendant was acting under color of law because ______________________
10   the charades of witchcraft. Ex:
     __________________________________________________________________
11
     __________________________________________________________________
12
     __________________________________________________________________
13
14
15
16                                 Dillingham, Alaska
      ___. Defendant ____________________________________________ works at
17   Insert ¶ #                              (full name of Defendant)
                     141 Main St. Dillingham, AK 99576
     __________________________________________________________________.
18
                                             (Defendant’s place of work)
19
20                                                  Mayor: Alice Ruby
      Defendant’s title or position is _________________________________________.
21                                                    (Defendant’s title or position at place of work)

22
23   This Defendant is sued in his/her (check one or both):

24                 individual capacity                official capacity
                                                          defendant is a part of
     This Defendant was acting under color of law because ______________________
25
     the charades of witchcraft. Ex:
     __________________________________________________________________
26
27   __________________________________________________________________

28   __________________________________________________________________

                                                    ________
                                                    Page Number

                                  Civil Rights Complaint Pursuant to U.S.C. § 1983
 Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 40 of 362 Page ID #:40




1                               Black Ticket Films
     ___. Defendant ____________________________________________ works at
     Insert ¶ #                              (full name of Defendant)
2        G-39A, G Block, Kailash Hills, East of Kailash, New Delhi, Delhi 110065, India
     __________________________________________________________________.
3                                            (Defendant’s place of work)

4
5                                              Co-Founder: Rintu Thomas
     Defendant’s title or position is _________________________________________.
                                                       (Defendant’s title or position at place of work)
6
     This Defendant is sued in his/her (check one or both):
7
                   individual capacity                                     official capacity
8
9                                                         defendant is a part of
     This Defendant was acting under color of law because ______________________
10   the charades of witchcraft. Ex: Producing movie: Dilli while under the
     __________________________________________________________________
11   production of Black Ticket Films. Yet this was being produced by India so
     __________________________________________________________________
12   this shows that Dilli(hunt) is black, but other people displayed themselves.
     __________________________________________________________________
13
14
15
16                                Clark County, Nevada
      ___. Defendant ____________________________________________ works at
17   Insert ¶ #                              (full name of Defendant)
         500 S Grand Central Pkwy 6th Floor, Las Vegas, NV 89155
     __________________________________________________________________.
18
                                             (Defendant’s place of work)
19
20                                                Chair: Tick Segerblom
      Defendant’s title or position is _________________________________________.
21                                                    (Defendant’s title or position at place of work)

22
23   This Defendant is sued in his/her (check one or both):

24                 individual capacity                official capacity
                                                          defendant is a part of
     This Defendant was acting under color of law because ______________________
25
     the charades of witchcraft. Ex:
     __________________________________________________________________
26
27   __________________________________________________________________

28   __________________________________________________________________

                                                    ________
                                                    Page Number

                                  Civil Rights Complaint Pursuant to U.S.C. § 1983
 Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 41 of 362 Page ID #:41




1                                    Coldplay
     ___. Defendant ____________________________________________ works at
     Insert ¶ #                              (full name of Defendant)
2             1633 Broadway New York, NY 10019-6708USA
     __________________________________________________________________.
3                                            (Defendant’s place of work)

4
5                                               artist @ atlantic records
     Defendant’s title or position is _________________________________________.
                                                       (Defendant’s title or position at place of work)
6
     This Defendant is sued in his/her (check one or both):
7
                   individual capacity                                     official capacity
8
9                                                         defendant is a part of
     This Defendant was acting under color of law because ______________________
10   the charades of witchcraft. Ex:
     __________________________________________________________________
11
     __________________________________________________________________
12
     __________________________________________________________________
13
14
15
16                                    Linkin Park
      ___. Defendant ____________________________________________ works at
17   Insert ¶ #                              (full name of Defendant)
      15260 Ventura Boulevard, Suite 2100, Sherman Oaks, CA 91403
     __________________________________________________________________.
18
                                             (Defendant’s place of work)
19
20                                        artist @ Machine Shop Recordings, LLC
      Defendant’s title or position is _________________________________________.
21                                                    (Defendant’s title or position at place of work)

22
23   This Defendant is sued in his/her (check one or both):

24                 individual capacity                official capacity
                                                          defendant is a part of
     This Defendant was acting under color of law because ______________________
25
     the charades of witchcraft. Ex:
     __________________________________________________________________
26
27   __________________________________________________________________

28   __________________________________________________________________

                                                    ________
                                                    Page Number

                                  Civil Rights Complaint Pursuant to U.S.C. § 1983
 Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 42 of 362 Page ID #:42




1                                    Blink 182
     ___. Defendant ____________________________________________ works at
     Insert ¶ #                              (full name of Defendant)
2           25 Madison Avenue 19th floor. New York, NY 10010
     __________________________________________________________________.
3                                            (Defendant’s place of work)

4
5                                                 artist @ sony music
     Defendant’s title or position is _________________________________________.
                                                       (Defendant’s title or position at place of work)
6
     This Defendant is sued in his/her (check one or both):
7
                   individual capacity                                     official capacity
8
9                                                         defendant is a part of
     This Defendant was acting under color of law because ______________________
10   the charades of witchcraft. Ex:
     __________________________________________________________________
11
     __________________________________________________________________
12
     __________________________________________________________________
13
14
15
16                            EMI Electrola GmbH & Co. KG
      ___. Defendant ____________________________________________ works at
17   Insert ¶ #                              (full name of Defendant)
                     Im Media Park 8a50670 Kl̂n Germany
     __________________________________________________________________.
18
                                             (Defendant’s place of work)
19
20                                                        CEO
      Defendant’s title or position is _________________________________________.
21                                                    (Defendant’s title or position at place of work)

22
23   This Defendant is sued in his/her (check one or both):

24                 individual capacity                official capacity
                                                          defendant is a part of
     This Defendant was acting under color of law because ______________________
25
     the charades of witchcraft. Ex:
     __________________________________________________________________
26
27   __________________________________________________________________

28   __________________________________________________________________

                                                    ________
                                                    Page Number

                                  Civil Rights Complaint Pursuant to U.S.C. § 1983
 Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 43 of 362 Page ID #:43




1                         Iglesia de Dios ( ISRAELITA )
     ___. Defendant ____________________________________________ works at
     Insert ¶ #                              (full name of Defendant)
2                  1020 Alameda St, Compton, CA 90221
     __________________________________________________________________.
3                                            (Defendant’s place of work)

4
5                                                       Pastor
     Defendant’s title or position is _________________________________________.
                                                       (Defendant’s title or position at place of work)
6
     This Defendant is sued in his/her (check one or both):
7
                   individual capacity                                     official capacity
8
9                                                         defendant is a part of
     This Defendant was acting under color of law because ______________________
10   the charades of witchcraft. Ex:
     __________________________________________________________________
11
     __________________________________________________________________
12
     __________________________________________________________________
13
14
15
16                            Heal A Life | A.C.T.S. and R&R
      ___. Defendant ____________________________________________ works at
17   Insert ¶ #                              (full name of Defendant)
                 336 E Rosecrans Ave, Compton, CA 90221
     __________________________________________________________________.
18
                                             (Defendant’s place of work)
19
20                                                        ceo
      Defendant’s title or position is _________________________________________.
21                                                    (Defendant’s title or position at place of work)

22
23   This Defendant is sued in his/her (check one or both):

24                 individual capacity                official capacity
                                                          defendant is a part of
     This Defendant was acting under color of law because ______________________
25
     the charades of witchcraft. Ex:
     __________________________________________________________________
26
27   __________________________________________________________________

28   __________________________________________________________________

                                                    ________
                                                    Page Number

                                  Civil Rights Complaint Pursuant to U.S.C. § 1983
 Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 44 of 362 Page ID #:44




1                                     OnTrac
     ___. Defendant ____________________________________________ works at
     Insert ¶ #                              (full name of Defendant)
2                   375 W Apra St, Compton, CA 90220
     __________________________________________________________________.
3                                            (Defendant’s place of work)

4
5                                                        Ceo
     Defendant’s title or position is _________________________________________.
                                                       (Defendant’s title or position at place of work)
6
     This Defendant is sued in his/her (check one or both):
7
                   individual capacity                                     official capacity
8
9                                                         defendant is a part of
     This Defendant was acting under color of law because ______________________
10   the charades of witchcraft. Ex:
     __________________________________________________________________
11
     __________________________________________________________________
12
     __________________________________________________________________
13
14
15
16                                    Firehouse
      ___. Defendant ____________________________________________ works at
17   Insert ¶ #                              (full name of Defendant)
                4101 E Compton Blvd, Compton, CA 90221
     __________________________________________________________________.
18
                                             (Defendant’s place of work)
19
20                                                       owner
      Defendant’s title or position is _________________________________________.
21                                                    (Defendant’s title or position at place of work)

22
23   This Defendant is sued in his/her (check one or both):

24                 individual capacity                official capacity
                                                          defendant is a part of
     This Defendant was acting under color of law because ______________________
25
     the charades of witchcraft. Ex:
     __________________________________________________________________
26
27   __________________________________________________________________

28   __________________________________________________________________

                                                    ________
                                                    Page Number

                                  Civil Rights Complaint Pursuant to U.S.C. § 1983
 Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 45 of 362 Page ID #:45




1                              Revelation Church
     ___. Defendant ____________________________________________ works at
     Insert ¶ #                              (full name of Defendant)
2                 713 Rosecrans Ave, Compton, CA 90222
     __________________________________________________________________.
3                                            (Defendant’s place of work)

4
5                                                       Pastor
     Defendant’s title or position is _________________________________________.
                                                       (Defendant’s title or position at place of work)
6
     This Defendant is sued in his/her (check one or both):
7
                   individual capacity                                     official capacity
8
9                                                         defendant is a part of
     This Defendant was acting under color of law because ______________________
10   the charades of witchcraft. Ex:
     __________________________________________________________________
11
     __________________________________________________________________
12
     __________________________________________________________________
13
14
15
16                    REVELATION CHURCH APOSTOLIC FAITH, IN works at
      ___. Defendant ____________________________________________
17   Insert ¶ #                              (full name of Defendant)
                8229 San Pedro St, Los Angeles, CA 90003
     __________________________________________________________________.
18
                                             (Defendant’s place of work)
19
20                                                       Pastor
      Defendant’s title or position is _________________________________________.
21                                                    (Defendant’s title or position at place of work)

22
23   This Defendant is sued in his/her (check one or both):

24                 individual capacity                official capacity
                                                          defendant is a part of
     This Defendant was acting under color of law because ______________________
25
     the charades of witchcraft. Ex:
     __________________________________________________________________
26
27   __________________________________________________________________

28   __________________________________________________________________

                                                    ________
                                                    Page Number

                                  Civil Rights Complaint Pursuant to U.S.C. § 1983
 Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 46 of 362 Page ID #:46




1                           George Walton Lucas Jr.
     ___. Defendant ____________________________________________ works at
     Insert ¶ #                              (full name of Defendant)
2                5858 Lucas Valley Rd. Nicasio, CA 94946
     __________________________________________________________________.
3                                            (Defendant’s place of work)

4
                                                       producer
     Defendant’s title or position is _________________________________________.
5
                                                       (Defendant’s title or position at place of work)
6
     This Defendant is sued in his/her (check one or both):
7
                   individual capacity                                     official capacity
8
9                                                         defendant is a part of
     This Defendant was acting under color of law because ______________________
10   the charades of witchcraft. Ex:
     __________________________________________________________________
11
     __________________________________________________________________
12
     __________________________________________________________________
13
14
15
16                                  Cinecitt‡World
      ___. Defendant ____________________________________________ works at
17   Insert ¶ #                              (full name of Defendant)
                   Via Irina Alberti, 00128 Roma RM, Italy
     __________________________________________________________________.
18
                                             (Defendant’s place of work)
19
20                                                       owner
      Defendant’s title or position is _________________________________________.
21                                                    (Defendant’s title or position at place of work)

22
23   This Defendant is sued in his/her (check one or both):

24                 individual capacity                official capacity
                                                          defendant is a part of
     This Defendant was acting under color of law because ______________________
25
     the charades of witchcraft. Ex:
     __________________________________________________________________
26
27   __________________________________________________________________

28   __________________________________________________________________

                                                    ________
                                                    Page Number

                                  Civil Rights Complaint Pursuant to U.S.C. § 1983
 Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 47 of 362 Page ID #:47




1                                    Fontenot
     ___. Defendant ____________________________________________ works at
     Insert ¶ #                              (full name of Defendant)
2                 410 N Bowen Ave, Compton, CA 90221
     __________________________________________________________________.
3                                            (Defendant’s place of work)

4
                                                        owner
     Defendant’s title or position is _________________________________________.
5
                                                       (Defendant’s title or position at place of work)
6
     This Defendant is sued in his/her (check one or both):
7
                   individual capacity                                     official capacity
8
9                                                         defendant is a part of
     This Defendant was acting under color of law because ______________________
10   the charades of witchcraft. Ex:
     __________________________________________________________________
11
     __________________________________________________________________
12
     __________________________________________________________________
13
14
15
16                              Louisiana Fried Chicken
      ___. Defendant ____________________________________________ works at
17   Insert ¶ #                              (full name of Defendant)
                     P.O Box 170562 Dallas, TX 75217
     __________________________________________________________________.
18
                                             (Defendant’s place of work)
19
20                                                   Michael P. Eng
      Defendant’s title or position is _________________________________________.
21                                                    (Defendant’s title or position at place of work)

22
23   This Defendant is sued in his/her (check one or both):

24                 individual capacity                official capacity
                                                          defendant is a part of
     This Defendant was acting under color of law because ______________________
25
     the charades of witchcraft. Ex:
     __________________________________________________________________
26
27   __________________________________________________________________

28   __________________________________________________________________

                                                    ________
                                                    Page Number

                                  Civil Rights Complaint Pursuant to U.S.C. § 1983
 Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 48 of 362 Page ID #:48




1                              botanical la caridad
     ___. Defendant ____________________________________________ works at
     Insert ¶ #                              (full name of Defendant)
2               4600 E Compton Blvd, Compton, CA 90221
     __________________________________________________________________.
3                                            (Defendant’s place of work)

4
5                                                      OWNER
     Defendant’s title or position is _________________________________________.
                                                       (Defendant’s title or position at place of work)
6
     This Defendant is sued in his/her (check one or both):
7
                   individual capacity                                     official capacity
8
9                                                         defendant is a part of
     This Defendant was acting under color of law because ______________________
10   the charades of witchcraft. Ex:
     __________________________________________________________________
11
     __________________________________________________________________
12
     __________________________________________________________________
13
14
15
16                           Jesucristo Es El Senor Universal
      ___. Defendant ____________________________________________ works at
17   Insert ¶ #                              (full name of Defendant)
                4611 E Compton Blvd, Compton, CA 90221
     __________________________________________________________________.
18
                                             (Defendant’s place of work)
19
20                                                       Pastor
      Defendant’s title or position is _________________________________________.
21                                                    (Defendant’s title or position at place of work)

22
23   This Defendant is sued in his/her (check one or both):

24                 individual capacity                official capacity
                                                          defendant is a part of
     This Defendant was acting under color of law because ______________________
25
     the charades of witchcraft. Ex:
     __________________________________________________________________
26
27   __________________________________________________________________

28   __________________________________________________________________

                                                    ________
                                                    Page Number

                                  Civil Rights Complaint Pursuant to U.S.C. § 1983
 Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 49 of 362 Page ID #:49




1                               Aztec babershop
     ___. Defendant ____________________________________________ works at
     Insert ¶ #                              (full name of Defendant)
2               4604 E Compton Blvd, Compton, CA 90221
     __________________________________________________________________.
3                                            (Defendant’s place of work)

4
5                                                       Owner
     Defendant’s title or position is _________________________________________.
                                                       (Defendant’s title or position at place of work)
6
     This Defendant is sued in his/her (check one or both):
7
                   individual capacity                                     official capacity
8
9                                                         defendant is a part of
     This Defendant was acting under color of law because ______________________
10   the charades of witchcraft. Ex:
     __________________________________________________________________
11
     __________________________________________________________________
12
     __________________________________________________________________
13
14
15
16                                Columbia, Maryland
      ___. Defendant ____________________________________________ works at
17   Insert ¶ #                              (full name of Defendant)
            6310 Hillside Court,Suite 100, Columbia, MD 21046
     __________________________________________________________________.
18
                                             (Defendant’s place of work)
19
20                                                 Ceo: Dennis Mattey
      Defendant’s title or position is _________________________________________.
21                                                    (Defendant’s title or position at place of work)

22
23   This Defendant is sued in his/her (check one or both):

24                 individual capacity                official capacity
                                                          defendant is a part of
     This Defendant was acting under color of law because ______________________
25
     the charades of witchcraft. Ex: Motto:
     __________________________________________________________________
26
27   __________________________________________________________________

28   __________________________________________________________________

                                                    ________
                                                    Page Number

                                  Civil Rights Complaint Pursuant to U.S.C. § 1983
 Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 50 of 362 Page ID #:50




1                          SUNWEST AVIATION LTD.
     ___. Defendant ____________________________________________ works at
     Insert ¶ #                              (full name of Defendant)
2               217 Aero Court NECalgary Alberta T2E 7C6
     __________________________________________________________________.
3                                            (Defendant’s place of work)

4
5                                             Ceo: RICHARD HOTCHKISS
     Defendant’s title or position is _________________________________________.
                                                       (Defendant’s title or position at place of work)
6
     This Defendant is sued in his/her (check one or both):
7
                   individual capacity                                     official capacity
8
9                                                         defendant is a part of
     This Defendant was acting under color of law because ______________________
10   the charades of witchcraft. Ex:
     __________________________________________________________________
11
     __________________________________________________________________
12
     __________________________________________________________________
13
14
15
16                                     Kaiser Air
      ___. Defendant ____________________________________________ works at
17   Insert ¶ #                              (full name of Defendant)
                    8735 Earhart Rd, Oakland, CA 94621
     __________________________________________________________________.
18
                                             (Defendant’s place of work)
19
20                                                 Ceo: Ronald Guerra
      Defendant’s title or position is _________________________________________.
21                                                    (Defendant’s title or position at place of work)

22
23   This Defendant is sued in his/her (check one or both):

24                 individual capacity                official capacity
                                                          defendant is a part of
     This Defendant was acting under color of law because ______________________
25
     the charades of witchcraft. Ex:
     __________________________________________________________________
26
27   __________________________________________________________________

28   __________________________________________________________________

                                                    ________
                                                    Page Number

                                  Civil Rights Complaint Pursuant to U.S.C. § 1983
 Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 51 of 362 Page ID #:51




                       Charles M. Schulz ñSonoma County Airport (STS)
1    ___. Defendant ____________________________________________      works at
     Insert ¶ #                              (full name of Defendant)
2              2200 Airport Boulevard, Santa Rosa, CA 95403
     __________________________________________________________________.
3                                            (Defendant’s place of work)

4
                                                        owner
     Defendant’s title or position is _________________________________________.
5
                                                       (Defendant’s title or position at place of work)
6
     This Defendant is sued in his/her (check one or both):
7
                   individual capacity                                     official capacity
8
9                                                         defendant is a part of
     This Defendant was acting under color of law because ______________________
10   the charades of witchcraft. Ex:
     __________________________________________________________________
11
     __________________________________________________________________
12
     __________________________________________________________________
13
14
15
16                                    Toronto Sun
      ___. Defendant ____________________________________________ works at
17   Insert ¶ #                              (full name of Defendant)
              365 Bloor Street EastToronto, OntarioM4W 3L4
     __________________________________________________________________.
18
                                             (Defendant’s place of work)
19
20                                             Editor-in-chief Adrienne Batra
      Defendant’s title or position is _________________________________________.
21                                                    (Defendant’s title or position at place of work)

22
23   This Defendant is sued in his/her (check one or both):

24                 individual capacity                official capacity
                                                          defendant is a part of
     This Defendant was acting under color of law because ______________________
25
     the charades of witchcraft. Ex:
     __________________________________________________________________
26
27   __________________________________________________________________

28   __________________________________________________________________

                                                    ________
                                                    Page Number

                                  Civil Rights Complaint Pursuant to U.S.C. § 1983
 Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 52 of 362 Page ID #:52




1                            Starship Entertainment
     ___. Defendant ____________________________________________ works at
     Insert ¶ #                              (full name of Defendant)
2          4-5 Samseong-ro 146-gil, Gangnam-gu, Seoul (06070)
     __________________________________________________________________.
3                                            (Defendant’s place of work)

4
                                                   CEO Lee Jin-sung
     Defendant’s title or position is _________________________________________.
5
                                                       (Defendant’s title or position at place of work)
6
     This Defendant is sued in his/her (check one or both):
7
                   individual capacity                                     official capacity
8
9                                                         defendant is a part of
     This Defendant was acting under color of law because ______________________
10   the charades of witchcraft. Ex:
     __________________________________________________________________
11
     __________________________________________________________________
12
     __________________________________________________________________
13
14
15
16                                    Kakao Corp
      ___. Defendant ____________________________________________ works at
17   Insert ¶ #                              (full name of Defendant)
              242, Cheomdan-ro, Jeju-si, Jeju-do, 63309, Korea
     __________________________________________________________________.
18
                                             (Defendant’s place of work)
19
20                                                 Founder Brian Kim
      Defendant’s title or position is _________________________________________.
21                                                    (Defendant’s title or position at place of work)

22
23   This Defendant is sued in his/her (check one or both):

24                 individual capacity                official capacity
                                                          defendant is a part of
     This Defendant was acting under color of law because ______________________
25
     the charades of witchcraft. Ex:
     __________________________________________________________________
26
27   __________________________________________________________________

28   __________________________________________________________________

                                                    ________
                                                    Page Number

                                  Civil Rights Complaint Pursuant to U.S.C. § 1983
 Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 53 of 362 Page ID #:53




1                                  Holyoke Sun
     ___. Defendant ____________________________________________ works at
     Insert ¶ #                              (full name of Defendant)
2                     24 Water St, Palmer, MA 01069
     __________________________________________________________________.
3                                            (Defendant’s place of work)

4
                                                         ceo
     Defendant’s title or position is _________________________________________.
5
                                                       (Defendant’s title or position at place of work)
6
     This Defendant is sued in his/her (check one or both):
7
                   individual capacity                                     official capacity
8
9                                                         defendant is a part of
     This Defendant was acting under color of law because ______________________
10   the charades of witchcraft. Ex:
     __________________________________________________________________
11
     __________________________________________________________________
12
     __________________________________________________________________
13
14
15
16                             Madrasa of Alauddin Khalji
      ___. Defendant ____________________________________________ works at
17   Insert ¶ #                              (full name of Defendant)
      G5FM+HR3, Seth Sarai, Mehrauli, New Delhi, Delhi 110030, Indi
     __________________________________________________________________.
18
                                             (Defendant’s place of work)
19
20                                                 Madras and Tomb
      Defendant’s title or position is _________________________________________.
21                                                    (Defendant’s title or position at place of work)

22
23   This Defendant is sued in his/her (check one or both):

24                 individual capacity                official capacity
                                                          defendant is a part of
     This Defendant was acting under color of law because ______________________
25
     the charades of witchcraft. Ex:
     __________________________________________________________________
26
27   __________________________________________________________________

28   __________________________________________________________________

                                                    ________
                                                    Page Number

                                  Civil Rights Complaint Pursuant to U.S.C. § 1983
 Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 54 of 362 Page ID #:54




1                           Siri Fort Sports Complex
     ___. Defendant ____________________________________________ works at
     Insert ¶ #                              (full name of Defendant)
2        Siri Fort Institutional Area, Siri Fort, New Delhi, Delhi 110049, India
     __________________________________________________________________.
3                                            (Defendant’s place of work)

4
                                                        owner
     Defendant’s title or position is _________________________________________.
5
                                                       (Defendant’s title or position at place of work)
6
     This Defendant is sued in his/her (check one or both):
7
                   individual capacity                                     official capacity
8
9                                                         defendant is a part of
     This Defendant was acting under color of law because ______________________
10   the charades of witchcraft. Ex:
     __________________________________________________________________
11
     __________________________________________________________________
12
     __________________________________________________________________
13
14
15
16                                Siri Fort Auditorium
      ___. Defendant ____________________________________________ works at
17   Insert ¶ #                              (full name of Defendant)
         Institutional Area, Siri Fort, New Delhi, Delhi 110049, India
     __________________________________________________________________.
18
                                             (Defendant’s place of work)
19
20                                                       owner
      Defendant’s title or position is _________________________________________.
21                                                    (Defendant’s title or position at place of work)

22
23   This Defendant is sued in his/her (check one or both):

24                 individual capacity                official capacity
                                                          defendant is a part of
     This Defendant was acting under color of law because ______________________
25
     the charades of witchcraft. Ex:
     __________________________________________________________________
26
27   __________________________________________________________________

28   __________________________________________________________________

                                                    ________
                                                    Page Number

                                  Civil Rights Complaint Pursuant to U.S.C. § 1983
 Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 55 of 362 Page ID #:55




1                                    Sirius FM
     ___. Defendant ____________________________________________ works at
     Insert ¶ #                              (full name of Defendant)
2         1221 Avenue of the Americas, New York City, NY 10020
     __________________________________________________________________.
3                                            (Defendant’s place of work)

4
5                                                 Ceo: Jennifer Witz
     Defendant’s title or position is _________________________________________.
                                                       (Defendant’s title or position at place of work)
6
     This Defendant is sued in his/her (check one or both):
7
                   individual capacity                                     official capacity
8
9                                                         defendant is a part of
     This Defendant was acting under color of law because ______________________
10   the charades of witchcraft. Ex:
     __________________________________________________________________
11
     __________________________________________________________________
12
     __________________________________________________________________
13
14
15
16                            Indian Naval Symphonic Band
      ___. Defendant ____________________________________________ works at
17   Insert ¶ #                              (full name of Defendant)
             H58J+J45, West Block, Rama Krishna Puram, New Delhi, Delhi 110066, India
18   __________________________________________________________________.
                                             (Defendant’s place of work)
19
20                                      Chief of the Naval Staff (CNS) Admiral R. Hari Kumar
      Defendant’s title or position is _________________________________________.
21                                                    (Defendant’s title or position at place of work)

22
23   This Defendant is sued in his/her (check one or both):

24                 individual capacity                official capacity
                                                          defendant is a part of
     This Defendant was acting under color of law because ______________________
25
     the charades of witchcraft. Ex:
     __________________________________________________________________
26
27   __________________________________________________________________

28   __________________________________________________________________

                                                    ________
                                                    Page Number

                                  Civil Rights Complaint Pursuant to U.S.C. § 1983
 Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 56 of 362 Page ID #:56




1                            Salt Lake Utah Temple
     ___. Defendant ____________________________________________ works at
     Insert ¶ #                              (full name of Defendant)
2               50 N W Temple St, Salt Lake City, UT 84150
     __________________________________________________________________.
3                                            (Defendant’s place of work)

4
5                                                      Pastor
     Defendant’s title or position is _________________________________________.
                                                       (Defendant’s title or position at place of work)
6
     This Defendant is sued in his/her (check one or both):
7
                   individual capacity                                     official capacity
8
9                                                         defendant is a part of
     This Defendant was acting under color of law because ______________________
10   the charades of witchcraft. Ex:
     __________________________________________________________________
11
     __________________________________________________________________
12
     __________________________________________________________________
13
14
15
16                                     Palmdale
      ___. Defendant ____________________________________________ works at
17   Insert ¶ #                              (full name of Defendant)
                 38300 Sierra HighwayPalmdale, CA 93550
     __________________________________________________________________.
18
                                             (Defendant’s place of work)
19
20                                                Mayor: Austin Bishop
      Defendant’s title or position is _________________________________________.
21                                                    (Defendant’s title or position at place of work)

22
23   This Defendant is sued in his/her (check one or both):

24                 individual capacity                official capacity
                                                          defendant is a part of
     This Defendant was acting under color of law because ______________________
25
     the charades of witchcraft. Ex:
     __________________________________________________________________
26
27   __________________________________________________________________

28   __________________________________________________________________

                                                    ________
                                                    Page Number

                                  Civil Rights Complaint Pursuant to U.S.C. § 1983
 Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 57 of 362 Page ID #:57




1                                   Gatorade
     ___. Defendant ____________________________________________ works at
     Insert ¶ #                              (full name of Defendant)
2                555 W Monroe St Chicago, IL 60661 USA
     __________________________________________________________________.
3                                            (Defendant’s place of work)

4
                                                 Ceo: Ramon Laguarta
     Defendant’s title or position is _________________________________________.
5
                                                       (Defendant’s title or position at place of work)
6
     This Defendant is sued in his/her (check one or both):
7
                   individual capacity                                     official capacity
8
9                                                         defendant is a part of
     This Defendant was acting under color of law because ______________________
10   the charades of witchcraft. Ex:
     __________________________________________________________________
11
     __________________________________________________________________
12
     __________________________________________________________________
13
14
15
16                                       pepsi
      ___. Defendant ____________________________________________ works at
17   Insert ¶ #                              (full name of Defendant)
                700 Anderson Hill Road Purchase, NY 10577
     __________________________________________________________________.
18
                                             (Defendant’s place of work)
19
20                                                Ceo: Ramon Laguarta
      Defendant’s title or position is _________________________________________.
21                                                    (Defendant’s title or position at place of work)

22
23   This Defendant is sued in his/her (check one or both):

24                 individual capacity                official capacity
                                                          defendant is a part of
     This Defendant was acting under color of law because ______________________
25
     the charades of witchcraft. Ex:
     __________________________________________________________________
26
27   __________________________________________________________________

28   __________________________________________________________________

                                                    ________
                                                    Page Number

                                  Civil Rights Complaint Pursuant to U.S.C. § 1983
 Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 58 of 362 Page ID #:58




1                       Robert James Ritchie (Kid Rock) works at
     ___. Defendant ____________________________________________
     Insert ¶ #                              (full name of Defendant)
2            401 Old Dixie HighwayUnit 3876Jupiter, FL 33469
     __________________________________________________________________.
3                                            (Defendant’s place of work)

4
                                            Lost Highway Touring, Inc Artist
     Defendant’s title or position is _________________________________________.
5
                                                       (Defendant’s title or position at place of work)
6
     This Defendant is sued in his/her (check one or both):
7
                   individual capacity                                     official capacity
8
9                                                         defendant is a part of
     This Defendant was acting under color of law because ______________________
10   the charades of witchcraft. Ex:
     __________________________________________________________________
11
     __________________________________________________________________
12
     __________________________________________________________________
13
14
15
16                                Broken Bow Records
      ___. Defendant ____________________________________________ works at
17   Insert ¶ #                              (full name of Defendant)
                     1 Music Cir S, Nashville, TN 37203
     __________________________________________________________________.
18
                                             (Defendant’s place of work)
19
20                                                 Ceo: Benny Brown
      Defendant’s title or position is _________________________________________.
21                                                    (Defendant’s title or position at place of work)

22
23   This Defendant is sued in his/her (check one or both):

24                 individual capacity                official capacity
                                                          defendant is a part of
     This Defendant was acting under color of law because ______________________
25
     the charades of witchcraft. Ex:
     __________________________________________________________________
26
27   __________________________________________________________________

28   __________________________________________________________________

                                                    ________
                                                    Page Number

                                  Civil Rights Complaint Pursuant to U.S.C. § 1983
 Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 59 of 362 Page ID #:59




1                                   KISS 102.3
     ___. Defendant ____________________________________________ works at
     Insert ¶ #                              (full name of Defendant)
2             1203 Troy Schenectady Road Latham, NY 12110
     __________________________________________________________________.
3                                            (Defendant’s place of work)

4
                                                 CEO Garry Polmateer
     Defendant’s title or position is _________________________________________.
5
                                                       (Defendant’s title or position at place of work)
6
     This Defendant is sued in his/her (check one or both):
7
                   individual capacity                                     official capacity
8
9                                                         defendant is a part of
     This Defendant was acting under color of law because ______________________
10   the charades of witchcraft. Ex:
     __________________________________________________________________
11
     __________________________________________________________________
12
     __________________________________________________________________
13
14
15
16                                       Tesla
      ___. Defendant ____________________________________________ works at
17   Insert ¶ #                              (full name of Defendant)
              13101 Harold Green Road, Austin, Texas 78725
     __________________________________________________________________.
18
                                             (Defendant’s place of work)
19
20                                                   Ceo: Elon Musk
      Defendant’s title or position is _________________________________________.
21                                                    (Defendant’s title or position at place of work)

22
23   This Defendant is sued in his/her (check one or both):

24                 individual capacity                official capacity
                                                          defendant is a part of
     This Defendant was acting under color of law because ______________________
25
     the charades of witchcraft. Ex:
     __________________________________________________________________
26
27   __________________________________________________________________

28   __________________________________________________________________

                                                    ________
                                                    Page Number

                                  Civil Rights Complaint Pursuant to U.S.C. § 1983
 Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 60 of 362 Page ID #:60




1                                 Neuralink Corp
     ___. Defendant ____________________________________________ works at
     Insert ¶ #                              (full name of Defendant)
2             7400 Paseo Padre Parkway Fremont, CA 94555
     __________________________________________________________________.
3                                            (Defendant’s place of work)

4
5                                                     Elon Musk
     Defendant’s title or position is _________________________________________.
                                                       (Defendant’s title or position at place of work)
6
     This Defendant is sued in his/her (check one or both):
7
                   individual capacity                                     official capacity
8
9                                                         defendant is a part of
     This Defendant was acting under color of law because ______________________
10   the charades of witchcraft. Ex:
     __________________________________________________________________
11
     __________________________________________________________________
12
     __________________________________________________________________
13
14
15
16                                 Musk Foundation
      ___. Defendant ____________________________________________ works at
17   Insert ¶ #                              (full name of Defendant)
                     Po Box 341886, Austin, TX 78734
     __________________________________________________________________.
18
                                             (Defendant’s place of work)
19
20                                                     Elon Musk
      Defendant’s title or position is _________________________________________.
21                                                    (Defendant’s title or position at place of work)

22
23   This Defendant is sued in his/her (check one or both):

24                 individual capacity                official capacity
                                                          defendant is a part of
     This Defendant was acting under color of law because ______________________
25
     the charades of witchcraft. Ex:
     __________________________________________________________________
26
27   __________________________________________________________________

28   __________________________________________________________________

                                                    ________
                                                    Page Number

                                  Civil Rights Complaint Pursuant to U.S.C. § 1983
 Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 61 of 362 Page ID #:61




1                                 Guitar Center
     ___. Defendant ____________________________________________ works at
     Insert ¶ #                              (full name of Defendant)
2          5795 Lindero Canyon Rd, Westlake Village, CA 91362
     __________________________________________________________________.
3                                            (Defendant’s place of work)

4
                                                  Ceo: Gabe Dalporto
     Defendant’s title or position is _________________________________________.
5
                                                       (Defendant’s title or position at place of work)
6
     This Defendant is sued in his/her (check one or both):
7
                   individual capacity                                     official capacity
8
9                                                         defendant is a part of
     This Defendant was acting under color of law because ______________________
10   the charades of witchcraft. Ex:
     __________________________________________________________________
11
     __________________________________________________________________
12
     __________________________________________________________________
13
14
15
16                                    NY Yankees
      ___. Defendant ____________________________________________ works at
17   Insert ¶ #                              (full name of Defendant)
                       1 E 161ST St Bronx, NY, 10451
     __________________________________________________________________.
18
                                             (Defendant’s place of work)
19
20                                                  Ceo: Rob Guliani
      Defendant’s title or position is _________________________________________.
21                                                    (Defendant’s title or position at place of work)

22
23   This Defendant is sued in his/her (check one or both):

24                 individual capacity                official capacity
                                                          defendant is a part of
     This Defendant was acting under color of law because ______________________
25
     the charades of witchcraft. Ex:
     __________________________________________________________________
26
27   __________________________________________________________________

28   __________________________________________________________________

                                                    ________
                                                    Page Number

                                  Civil Rights Complaint Pursuant to U.S.C. § 1983
 Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 62 of 362 Page ID #:62




1                                  Dreamworld
     ___. Defendant ____________________________________________ works at
     Insert ¶ #                              (full name of Defendant)
2            Dreamworld Pkwy, Coomera QLD 4209, Australia
     __________________________________________________________________.
3                                            (Defendant’s place of work)

4
                                                        owner
     Defendant’s title or position is _________________________________________.
5
                                                       (Defendant’s title or position at place of work)
6
     This Defendant is sued in his/her (check one or both):
7
                   individual capacity                                     official capacity
8
9                                                         defendant is a part of
     This Defendant was acting under color of law because ______________________
10   the charades of witchcraft. Ex:
     __________________________________________________________________
11
     __________________________________________________________________
12
     __________________________________________________________________
13
14
15
16                                    Armenian
      ___. Defendant ____________________________________________ works at
17   Insert ¶ #                              (full name of Defendant)
              Republic of Armenia, c. Yerevan, 0010, Republic Square, Government House
18   __________________________________________________________________.
                                             (Defendant’s place of work)
19
20                                           • President Vahagn Khachaturyan
      Defendant’s title or position is _________________________________________.
21                                                    (Defendant’s title or position at place of work)

22
23   This Defendant is sued in his/her (check one or both):

24                 individual capacity                official capacity
                                                          defendant is a part of
     This Defendant was acting under color of law because ______________________
25
     the charades of witchcraft. Ex:
     __________________________________________________________________
26
27   __________________________________________________________________

28   __________________________________________________________________

                                                    ________
                                                    Page Number

                                  Civil Rights Complaint Pursuant to U.S.C. § 1983
 Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 63 of 362 Page ID #:63




1                             King Kong by Starship
     ___. Defendant ____________________________________________ works at
     Insert ¶ #                              (full name of Defendant)
2      3F, 4-5 Samseong-ro 146-gil, Cheongdam-dong, Gangnam-gu, Seoul, South Korea
     __________________________________________________________________.
3                                            (Defendant’s place of work)

4
                                                 Founder: Lee Jin-sung
     Defendant’s title or position is _________________________________________.
5
                                                       (Defendant’s title or position at place of work)
6
     This Defendant is sued in his/her (check one or both):
7
                   individual capacity                                     official capacity
8
9                                                         defendant is a part of
     This Defendant was acting under color of law because ______________________
10   the charades of witchcraft. Ex:
     __________________________________________________________________
11
     __________________________________________________________________
12
     __________________________________________________________________
13
14
15
16                                    iWill Media
      ___. Defendant ____________________________________________ works at
17   Insert ¶ #                              (full name of Defendant)
         11th floor, KBS Media Center, 45 Maebongsan-ro, Seogyo-dong, Mapo District, Seoul, South Korea
18   __________________________________________________________________.
                                             (Defendant’s place of work)
19
20                                               Founder: Kim Jong-shik
      Defendant’s title or position is _________________________________________.
21                                                    (Defendant’s title or position at place of work)

22
23   This Defendant is sued in his/her (check one or both):

24                 individual capacity                official capacity
                                                          defendant is a part of
     This Defendant was acting under color of law because ______________________
25
     the charades of witchcraft. Ex:
     __________________________________________________________________
26
27   __________________________________________________________________

28   __________________________________________________________________

                                                    ________
                                                    Page Number

                                  Civil Rights Complaint Pursuant to U.S.C. § 1983
 Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 64 of 362 Page ID #:64




1                          Studio Dragon Corporation
     ___. Defendant ____________________________________________ works at
     Insert ¶ #                                    (full name of Defendant)
2      Unit 1701, 17th Floor, Dong-A Digital Media Center (DDMC), Maebongsan-ro 75, Sangam-dong, Mapo-gu, Seoul, South Korea
     __________________________________________________________________.
3                                                  (Defendant’s place of work)

4
                                                  Ceo: Kim Jae-hyun
     Defendant’s title or position is _________________________________________.
5
                                                             (Defendant’s title or position at place of work)
6
     This Defendant is sued in his/her (check one or both):
7
                   individual capacity                                           official capacity
8
9                                                         defendant is a part of
     This Defendant was acting under color of law because ______________________
10   the charades of witchcraft. Ex:
     __________________________________________________________________
11
     __________________________________________________________________
12
     __________________________________________________________________
13
14
15
16                                       IBM
      ___. Defendant ____________________________________________ works at
17   Insert ¶ #                                    (full name of Defendant)
             1 Orchard Road, Armonk, New York, United States
     __________________________________________________________________.
18
                                                   (Defendant’s place of work)
19
20                                                 Ceo: Arvind Krishna
      Defendant’s title or position is _________________________________________.
21                                                          (Defendant’s title or position at place of work)

22
23   This Defendant is sued in his/her (check one or both):

24                 individual capacity                official capacity
                                                          defendant is a part of
     This Defendant was acting under color of law because ______________________
25
     the charades of witchcraft. Ex:
     __________________________________________________________________
26
27   __________________________________________________________________

28   __________________________________________________________________

                                                          ________
                                                          Page Number

                                       Civil Rights Complaint Pursuant to U.S.C. § 1983
 Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 65 of 362 Page ID #:65




1                                Nokia Bell Labs
     ___. Defendant ____________________________________________ works at
     Insert ¶ #                              (full name of Defendant)
2    600 Mountain Avenue, Murray Hill, NJ 07974-0636, United States
     __________________________________________________________________.
3                                            (Defendant’s place of work)

4
5                                                    Peter Vetter
     Defendant’s title or position is _________________________________________.
                                                       (Defendant’s title or position at place of work)
6
     This Defendant is sued in his/her (check one or both):
7
                   individual capacity                                     official capacity
8
9                                                         defendant is a part of
     This Defendant was acting under color of law because ______________________
10   the charades of witchcraft. Ex:
     __________________________________________________________________
11
     __________________________________________________________________
12
     __________________________________________________________________
13
14
15
16                                Nokia Shanghai Bell
      ___. Defendant ____________________________________________ works at
17   Insert ¶ #                              (full name of Defendant)
        388 NINGQIAO ROAD PUDONG JINQIAO SHANGHAI 201206CHINA
     __________________________________________________________________.
18
                                             (Defendant’s place of work)
19
20                                                Ceo: Markus Borcher
      Defendant’s title or position is _________________________________________.
21                                                    (Defendant’s title or position at place of work)

22
23   This Defendant is sued in his/her (check one or both):

24                 individual capacity                official capacity
                                                          defendant is a part of
     This Defendant was acting under color of law because ______________________
25
     the charades of witchcraft. Ex:
     __________________________________________________________________
26
27   __________________________________________________________________

28   __________________________________________________________________

                                                    ________
                                                    Page Number

                                  Civil Rights Complaint Pursuant to U.S.C. § 1983
 Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 66 of 362 Page ID #:66




1                                     Verizon
     ___. Defendant ____________________________________________ works at
     Insert ¶ #                              (full name of Defendant)
2              1095 Avenue of the Americas, New York City
     __________________________________________________________________.
3                                            (Defendant’s place of work)

4
                                                  Ceo: Hans Vestberg
     Defendant’s title or position is _________________________________________.
5
                                                       (Defendant’s title or position at place of work)
6
     This Defendant is sued in his/her (check one or both):
7
                   individual capacity                                     official capacity
8
9                                                         defendant is a part of
     This Defendant was acting under color of law because ______________________
10   the charades of witchcraft. Ex: Was a part of the Regional Bell Operating
     __________________________________________________________________
11   Company
     __________________________________________________________________
12
     __________________________________________________________________
13
14
15
16                                       AT&T
      ___. Defendant ____________________________________________ works at
17   Insert ¶ #                              (full name of Defendant)
             Whitacre Tower, 208 S Akard St, Dallas, TX 75202
     __________________________________________________________________.
18
                                             (Defendant’s place of work)
19
20                                                 Ceo: John Stankey
      Defendant’s title or position is _________________________________________.
21                                                    (Defendant’s title or position at place of work)

22
23   This Defendant is sued in his/her (check one or both):

24                 individual capacity                official capacity
                                                          defendant is a part of
     This Defendant was acting under color of law because ______________________
25
     the charades of witchcraft. Ex: Was a part of the Regional Bell Operating
     __________________________________________________________________
26
     Company
     __________________________________________________________________
27
28   __________________________________________________________________

                                                    ________
                                                    Page Number

                                  Civil Rights Complaint Pursuant to U.S.C. § 1983
 Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 67 of 362 Page ID #:67




1                    Kingdom Hall Of Jehovah's Witnesses works at
     ___. Defendant ____________________________________________
     Insert ¶ #                              (full name of Defendant)
2                 12000 Main St, Los Angeles, CA 90061
     __________________________________________________________________.
3                                            (Defendant’s place of work)

4
5                                                    Main Pastor
     Defendant’s title or position is _________________________________________.
                                                       (Defendant’s title or position at place of work)
6
     This Defendant is sued in his/her (check one or both):
7
                   individual capacity                                     official capacity
8
9                                                         defendant is a part of
     This Defendant was acting under color of law because ______________________
10   the charades of witchcraft. Ex:
     __________________________________________________________________
11
     __________________________________________________________________
12
     __________________________________________________________________
13
14
15
16                              Norwalk Masonic Lodge
      ___. Defendant ____________________________________________ works at
17   Insert ¶ #                              (full name of Defendant)
                 12345 Rosecrans Ave, Norwalk, CA 90650
     __________________________________________________________________.
18
                                             (Defendant’s place of work)
19
20                                                    Grand Mason
      Defendant’s title or position is _________________________________________.
21                                                    (Defendant’s title or position at place of work)

22
23   This Defendant is sued in his/her (check one or both):

24                 individual capacity                official capacity
                                                          defendant is a part of
     This Defendant was acting under color of law because ______________________
25
     the charades of witchcraft. Ex:
     __________________________________________________________________
26
27   __________________________________________________________________

28   __________________________________________________________________

                                                    ________
                                                    Page Number

                                  Civil Rights Complaint Pursuant to U.S.C. § 1983
 Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 68 of 362 Page ID #:68




1                     St Raphael Korean Catholic Center works at
     ___. Defendant ____________________________________________
     Insert ¶ #                              (full name of Defendant)
2                12366 Rosecrans Ave, Norwalk, CA 90650
     __________________________________________________________________.
3                                            (Defendant’s place of work)

4
                                                      overseer
     Defendant’s title or position is _________________________________________.
5
                                                       (Defendant’s title or position at place of work)
6
     This Defendant is sued in his/her (check one or both):
7
                   individual capacity                                     official capacity
8
9                                                         defendant is a part of
     This Defendant was acting under color of law because ______________________
10   the charades of witchcraft. Ex:
     __________________________________________________________________
11
     __________________________________________________________________
12
     __________________________________________________________________
13
14
15
16                         Golden Trowel Norwalk Lodge #273
      ___. Defendant ____________________________________________ works at
17   Insert ¶ #                              (full name of Defendant)
                 12345 Rosecrans Ave, Norwalk, CA 90650
     __________________________________________________________________.
18
                                             (Defendant’s place of work)
19
20                                                     overseer
      Defendant’s title or position is _________________________________________.
21                                                    (Defendant’s title or position at place of work)

22
23   This Defendant is sued in his/her (check one or both):

24                 individual capacity                official capacity
                                                          defendant is a part of
     This Defendant was acting under color of law because ______________________
25
     the charades of witchcraft. Ex:
     __________________________________________________________________
26
27   __________________________________________________________________

28   __________________________________________________________________

                                                    ________
                                                    Page Number

                                  Civil Rights Complaint Pursuant to U.S.C. § 1983
 Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 69 of 362 Page ID #:69




1                        Southland Christian Academy
     ___. Defendant ____________________________________________ works at
     Insert ¶ #                              (full name of Defendant)
2                16400 Woodruff Ave, Bellflower, CA 90706
     __________________________________________________________________.
3                                            (Defendant’s place of work)

4
                                                      overseer
     Defendant’s title or position is _________________________________________.
5
                                                       (Defendant’s title or position at place of work)
6
     This Defendant is sued in his/her (check one or both):
7
                   individual capacity                                     official capacity
8
9                                                         defendant is a part of
     This Defendant was acting under color of law because ______________________
10   the charades of witchcraft. Ex:
     __________________________________________________________________
11
     __________________________________________________________________
12
     __________________________________________________________________
13
14
15
16                                White House Florist
      ___. Defendant ____________________________________________ works at
17   Insert ¶ #                              (full name of Defendant)
                      9855 Flower St, Bellflower, CA 90706
     __________________________________________________________________.
18
                                             (Defendant’s place of work)
19
20                                                     overseer
      Defendant’s title or position is _________________________________________.
21                                                    (Defendant’s title or position at place of work)

22
23   This Defendant is sued in his/her (check one or both):

24                 individual capacity                official capacity
                                                          defendant is a part of
     This Defendant was acting under color of law because ______________________
25
     the charades of witchcraft. Ex:
     __________________________________________________________________
26
27   __________________________________________________________________

28   __________________________________________________________________

                                                    ________
                                                    Page Number

                                  Civil Rights Complaint Pursuant to U.S.C. § 1983
 Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 70 of 362 Page ID #:70




1                       American Dream Meadowlands
     ___. Defendant ____________________________________________ works at
     Insert ¶ #                              (full name of Defendant)
2            1 American Dream Wy, East Rutherford, NJ 07073
     __________________________________________________________________.
3                                            (Defendant’s place of work)

4
                                                        owner
     Defendant’s title or position is _________________________________________.
5
                                                       (Defendant’s title or position at place of work)
6
     This Defendant is sued in his/her (check one or both):
7
                   individual capacity                                     official capacity
8
9                                                         defendant is a part of
     This Defendant was acting under color of law because ______________________
10   the charades of witchcraft. Ex: Jaguars
     __________________________________________________________________
11
     __________________________________________________________________
12
     __________________________________________________________________
13
14
15
16                                   London Drugs
      ___. Defendant ____________________________________________ works at
17   Insert ¶ #                              (full name of Defendant)
          12251 Horseshoe Way, Richmond, BC V7A 4X5, Canada
     __________________________________________________________________.
18
                                             (Defendant’s place of work)
19
20                                                 Ceo: Clint Mahlman
      Defendant’s title or position is _________________________________________.
21                                                    (Defendant’s title or position at place of work)

22
23   This Defendant is sued in his/her (check one or both):

24                 individual capacity                official capacity
                                                          defendant is a part of
     This Defendant was acting under color of law because ______________________
25
     the charades of witchcraft. Ex: Is located in West Edmonton Mall and the
     __________________________________________________________________
26
     mall is owned by an artificial identity called The Ghermezian Family. I call
     __________________________________________________________________
27
     their name artificial bcuz they are Iranian. Germans produced Durgs
     __________________________________________________________________
28
                                                    ________
                                                    Page Number

                                  Civil Rights Complaint Pursuant to U.S.C. § 1983
 Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 71 of 362 Page ID #:71




1                           DreamWorks Water Park
     ___. Defendant ____________________________________________ works at
     Insert ¶ #                              (full name of Defendant)
2            1 American Dream Wy, East Rutherford, NJ 07073
     __________________________________________________________________.
3                                            (Defendant’s place of work)

4
                                              Manager: Marena Thompson
     Defendant’s title or position is _________________________________________.
5
                                                       (Defendant’s title or position at place of work)
6
     This Defendant is sued in his/her (check one or both):
7
                   individual capacity                                     official capacity
8
9                                                         defendant is a part of
     This Defendant was acting under color of law because ______________________
10   the charades of witchcraft. Ex: Jaguars
     __________________________________________________________________
11
     __________________________________________________________________
12
     __________________________________________________________________
13
14
15
16                                    Siam Park
      ___. Defendant ____________________________________________ works at
17   Insert ¶ #                              (full name of Defendant)
      Av. Siam, s/n, 38660 Costa Adeje, Santa Cruz de Tenerife, Spain
     __________________________________________________________________.
18
                                             (Defendant’s place of work)
19
20                                                       owner
      Defendant’s title or position is _________________________________________.
21                                                    (Defendant’s title or position at place of work)

22
23   This Defendant is sued in his/her (check one or both):

24                 individual capacity                official capacity
                                                          defendant is a part of
     This Defendant was acting under color of law because ______________________
25
     the charades of witchcraft. Ex:
     __________________________________________________________________
26
27   __________________________________________________________________

28   __________________________________________________________________

                                                    ________
                                                    Page Number

                                  Civil Rights Complaint Pursuant to U.S.C. § 1983
 Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 72 of 362 Page ID #:72




1                              Siam Amazing Park
     ___. Defendant ____________________________________________ works at
     Insert ¶ #                                   (full name of Defendant)
2       203 Suan Sayam Rd, Khan Na Yao, Bangkok 10230, Thailand
     __________________________________________________________________.
3                                                 (Defendant’s place of work)

4
                                                        owner
     Defendant’s title or position is _________________________________________.
5
                                                            (Defendant’s title or position at place of work)
6
     This Defendant is sued in his/her (check one or both):
7
                   individual capacity                                          official capacity
8
9                                                         defendant is a part of
     This Defendant was acting under color of law because ______________________
10   the charades of witchcraft. Ex: Jaguars
     __________________________________________________________________
11
     __________________________________________________________________
12
     __________________________________________________________________
13
14
15
16                                   Dream World
      ___. Defendant ____________________________________________ works at
17   Insert ¶ #                                    (full name of Defendant)
          62 Village No. 1, Rangsit - Ongkharak Road, Bueng Yitho, Thanyaburi District, Pathum Thani 12130, Thailand
18   __________________________________________________________________.
                                                  (Defendant’s place of work)
19
20                                                       owner
      Defendant’s title or position is _________________________________________.
21                                                         (Defendant’s title or position at place of work)

22
23   This Defendant is sued in his/her (check one or both):

24                 individual capacity                official capacity
                                                          defendant is a part of
     This Defendant was acting under color of law because ______________________
25
     the charades of witchcraft. Ex:
     __________________________________________________________________
26
27   __________________________________________________________________

28   __________________________________________________________________

                                                         ________
                                                         Page Number

                                      Civil Rights Complaint Pursuant to U.S.C. § 1983
 Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 73 of 362 Page ID #:73




1                                Chocolate Ville
     ___. Defendant ____________________________________________ works at
     Insert ¶ #                              (full name of Defendant)
2      23 1-16 Prasert-Manukitch Rd, Ram Inthra, Khan Na Yao, Bangkok 10230, Thailand
     __________________________________________________________________.
3                                            (Defendant’s place of work)

4
                                                        owner
     Defendant’s title or position is _________________________________________.
5
                                                       (Defendant’s title or position at place of work)
6
     This Defendant is sued in his/her (check one or both):
7
                   individual capacity                                     official capacity
8
9                                                         defendant is a part of
     This Defendant was acting under color of law because ______________________
10   the charades of witchcraft. Ex: Jaguars
     __________________________________________________________________
11
     __________________________________________________________________
12
     __________________________________________________________________
13
14
15
16                           SEA LIFE Bangkok Ocean World
      ___. Defendant ____________________________________________ works at
17   Insert ¶ #                              (full name of Defendant)
         Floor B1-B2 Siam Paragon 991 Rama I Rd, Pathum Wan, Bangkok 10330, Thailand
18   __________________________________________________________________.
                                             (Defendant’s place of work)
19
20                                                       Owner
      Defendant’s title or position is _________________________________________.
21                                                    (Defendant’s title or position at place of work)

22
23   This Defendant is sued in his/her (check one or both):

24                 individual capacity                official capacity
                                                          defendant is a part of
     This Defendant was acting under color of law because ______________________
25
     the charades of witchcraft. Ex:
     __________________________________________________________________
26
27   __________________________________________________________________

28   __________________________________________________________________

                                                    ________
                                                    Page Number

                                  Civil Rights Complaint Pursuant to U.S.C. § 1983
 Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 74 of 362 Page ID #:74




1                    The Museum of Jurassic Technology works at
     ___. Defendant ____________________________________________
     Insert ¶ #                              (full name of Defendant)
2                 9341 Venice Blvd., Culver City, CA 90232
     __________________________________________________________________.
3                                            (Defendant’s place of work)

4
5                                                    David Wilson
     Defendant’s title or position is _________________________________________.
                                                       (Defendant’s title or position at place of work)
6
     This Defendant is sued in his/her (check one or both):
7
                   individual capacity                                     official capacity
8
9                                                         defendant is a part of
     This Defendant was acting under color of law because ______________________
10   the charades of witchcraft. Ex:
     __________________________________________________________________
11
     __________________________________________________________________
12
     __________________________________________________________________
13
14
15
16                                The Getty Museum
      ___. Defendant ____________________________________________ works at
17   Insert ¶ #                              (full name of Defendant)
               1200 Getty Center Dr, Los Angeles, CA 90049
     __________________________________________________________________.
18
                                             (Defendant’s place of work)
19
20                                              Ceo: Katherine E. Fleming
      Defendant’s title or position is _________________________________________.
21                                                    (Defendant’s title or position at place of work)

22
23   This Defendant is sued in his/her (check one or both):

24                 individual capacity                official capacity
                                                          defendant is a part of
     This Defendant was acting under color of law because ______________________
25
     the charades of witchcraft. Ex:
     __________________________________________________________________
26
27   __________________________________________________________________

28   __________________________________________________________________

                                                    ________
                                                    Page Number

                                  Civil Rights Complaint Pursuant to U.S.C. § 1983
 Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 75 of 362 Page ID #:75




1                          Sherman Oaks Castle Park
     ___. Defendant ____________________________________________ works at
     Insert ¶ #                              (full name of Defendant)
2             4989 Sepulveda Blvd, Sherman Oaks, CA 91403
     __________________________________________________________________.
3                                            (Defendant’s place of work)

4
                                                        owner
     Defendant’s title or position is _________________________________________.
5
                                                       (Defendant’s title or position at place of work)
6
     This Defendant is sued in his/her (check one or both):
7
                   individual capacity                                     official capacity
8
9                                                         defendant is a part of
     This Defendant was acting under color of law because ______________________
10   the charades of witchcraft. Ex:
     __________________________________________________________________
11
     __________________________________________________________________
12
     __________________________________________________________________
13
14
15
16                               Warner Center Marriot
      ___. Defendant ____________________________________________ works at
17   Insert ¶ #                              (full name of Defendant)
               21850 W Oxnard St, Woodland Hills, CA 91367
     __________________________________________________________________.
18
                                             (Defendant’s place of work)
19
20                                                        ceo
      Defendant’s title or position is _________________________________________.
21                                                    (Defendant’s title or position at place of work)

22
23   This Defendant is sued in his/her (check one or both):

24                 individual capacity                official capacity
                                                          defendant is a part of
     This Defendant was acting under color of law because ______________________
25
     the charades of witchcraft. Ex:
     __________________________________________________________________
26
27   __________________________________________________________________

28   __________________________________________________________________

                                                    ________
                                                    Page Number

                                  Civil Rights Complaint Pursuant to U.S.C. § 1983
 Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 76 of 362 Page ID #:76




1                              Kiaser Permanente
     ___. Defendant ____________________________________________ works at
     Insert ¶ #                              (full name of Defendant)
2              5601 De Soto Ave, Woodland Hills, CA 91367
     __________________________________________________________________.
3                                            (Defendant’s place of work)

4
                                                         ceo
     Defendant’s title or position is _________________________________________.
5
                                                       (Defendant’s title or position at place of work)
6
     This Defendant is sued in his/her (check one or both):
7
                   individual capacity                                     official capacity
8
9                                                         defendant is a part of
     This Defendant was acting under color of law because ______________________
10   the charades of witchcraft. Ex:
     __________________________________________________________________
11
     __________________________________________________________________
12
     __________________________________________________________________
13
14
15
16                                    Brand Park
      ___. Defendant ____________________________________________ works at
17   Insert ¶ #                              (full name of Defendant)
                 1601 W Mountain St, Glendale, CA 91201
     __________________________________________________________________.
18
                                             (Defendant’s place of work)
19
20                                                     overseer
      Defendant’s title or position is _________________________________________.
21                                                    (Defendant’s title or position at place of work)

22
23   This Defendant is sued in his/her (check one or both):

24                 individual capacity                official capacity
                                                          defendant is a part of
     This Defendant was acting under color of law because ______________________
25
     the charades of witchcraft. Ex:
     __________________________________________________________________
26
27   __________________________________________________________________

28   __________________________________________________________________

                                                    ________
                                                    Page Number

                                  Civil Rights Complaint Pursuant to U.S.C. § 1983
 Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 77 of 362 Page ID #:77




1                     Nicholas Richard Denis COMPTON works at
     ___. Defendant ____________________________________________
     Insert ¶ #                              (full name of Defendant)
2        Ground Floor, 90 Victoria Street, Bristol, United Kingdom, BS1 6DP
     __________________________________________________________________.
3                                            (Defendant’s place of work)

4
5                                                     Cricketer
     Defendant’s title or position is _________________________________________.
                                                       (Defendant’s title or position at place of work)
6
     This Defendant is sued in his/her (check one or both):
7
                   individual capacity                                     official capacity
8
9                                                         defendant is a part of
     This Defendant was acting under color of law because ______________________
10   the charades of witchcraft. Ex: Born in South Africa. He's a cricketer with
     __________________________________________________________________
11   the batsman role. My name is Victoria I was born in Compton and my
     __________________________________________________________________
12   granddad name is Dennis
     __________________________________________________________________
13
14
15
16                                  Long Live Dubz
      ___. Defendant ____________________________________________ works at
17   Insert ¶ #                              (full name of Defendant)
                  Elizabeth Lake Rd, Palmdale, CA 93551
     __________________________________________________________________.
18
                                             (Defendant’s place of work)
19
20                                                Memorial in Palmdale
      Defendant’s title or position is _________________________________________.
21                                                    (Defendant’s title or position at place of work)

22
23   This Defendant is sued in his/her (check one or both):

24                 individual capacity                official capacity
                                                          defendant is a part of
     This Defendant was acting under color of law because ______________________
25
     the charades of witchcraft. Ex:
     __________________________________________________________________
26
27   __________________________________________________________________

28   __________________________________________________________________

                                                    ________
                                                    Page Number

                                  Civil Rights Complaint Pursuant to U.S.C. § 1983
 Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 78 of 362 Page ID #:78




1                          Warner Bros. Movie World
     ___. Defendant ____________________________________________ works at
     Insert ¶ #                              (full name of Defendant)
2                Pacific Mwy, Oxenford QLD 4210, Australia
     __________________________________________________________________.
3                                            (Defendant’s place of work)

4
                                                        owner
     Defendant’s title or position is _________________________________________.
5
                                                       (Defendant’s title or position at place of work)
6
     This Defendant is sued in his/her (check one or both):
7
                   individual capacity                                     official capacity
8
9                                                         defendant is a part of
     This Defendant was acting under color of law because ______________________
10   the charades of witchcraft. Ex:
     __________________________________________________________________
11
     __________________________________________________________________
12
     __________________________________________________________________
13
14
15
16                          Jurassic Encounter Adventure Golf
      ___. Defendant ____________________________________________ works at
17   Insert ¶ #                              (full name of Defendant)
        World of Golf, Beverley Way, New Malden KT3 4PH, United Kingdom
     __________________________________________________________________.
18
                                             (Defendant’s place of work)
19
20                                                       owner
      Defendant’s title or position is _________________________________________.
21                                                    (Defendant’s title or position at place of work)

22
23   This Defendant is sued in his/her (check one or both):

24                 individual capacity                official capacity
                                                          defendant is a part of
     This Defendant was acting under color of law because ______________________
25
     the charades of witchcraft. Ex:
     __________________________________________________________________
26
27   __________________________________________________________________

28   __________________________________________________________________

                                                    ________
                                                    Page Number

                                  Civil Rights Complaint Pursuant to U.S.C. § 1983
 Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 79 of 362 Page ID #:79




1                                 Paultons Park
     ___. Defendant ____________________________________________ works at
     Insert ¶ #                              (full name of Defendant)
2      Paultons Park, Ower, Romsey, The New Forest, Hampshire, SO51 6AL.
     __________________________________________________________________.
3                                            (Defendant’s place of work)

4
5                                                       oŵner
     Defendant’s title or position is _________________________________________.
                                                       (Defendant’s title or position at place of work)
6
     This Defendant is sued in his/her (check one or both):
7
                   individual capacity                                     official capacity
8
9                                                         defendant is a part of
     This Defendant was acting under color of law because ______________________
10   the charades of witchcraft. Ex:
     __________________________________________________________________
11
     __________________________________________________________________
12
     __________________________________________________________________
13
14
15
16                                   Queen's Bath
      ___. Defendant ____________________________________________ works at
17   Insert ¶ #                              (full name of Defendant)
                    Kapiolani Loop, Princeville, HI 96722
     __________________________________________________________________.
18
                                             (Defendant’s place of work)
19
20                                                 Hawaii government
      Defendant’s title or position is _________________________________________.
21                                                    (Defendant’s title or position at place of work)

22
23   This Defendant is sued in his/her (check one or both):

24                 individual capacity                official capacity
                                                          defendant is a part of
     This Defendant was acting under color of law because ______________________
25
     the charades of witchcraft. Ex:
     __________________________________________________________________
26
27   __________________________________________________________________

28   __________________________________________________________________

                                                    ________
                                                    Page Number

                                  Civil Rights Complaint Pursuant to U.S.C. § 1983
 Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 80 of 362 Page ID #:80




                      University of California Office of the President
1    ___. Defendant ____________________________________________ works at
     Insert ¶ #                              (full name of Defendant)
2                   1111 Franklin St, Oakland, CA 94607
     __________________________________________________________________.
3                                            (Defendant’s place of work)

4
5                                                       dean
     Defendant’s title or position is _________________________________________.
                                                       (Defendant’s title or position at place of work)
6
     This Defendant is sued in his/her (check one or both):
7
                   individual capacity                                     official capacity
8
9                                                         defendant is a part of
     This Defendant was acting under color of law because ______________________
10   the charades of witchcraft. Ex:
     __________________________________________________________________
11
     __________________________________________________________________
12
     __________________________________________________________________
13
14
15
16                                  Usher Raymond
      ___. Defendant ____________________________________________ works at
17   Insert ¶ #                              (full name of Defendant)
            25 Madison Avenue, 23rd Floor, New York, NY 10010
     __________________________________________________________________.
18
                                             (Defendant’s place of work)
19
20                                                artist @ RCA records
      Defendant’s title or position is _________________________________________.
21                                                    (Defendant’s title or position at place of work)

22
23   This Defendant is sued in his/her (check one or both):

24                 individual capacity                official capacity
                                                          defendant is a part of
     This Defendant was acting under color of law because ______________________
25
     the charades of witchcraft. Ex:
     __________________________________________________________________
26
27   __________________________________________________________________

28   __________________________________________________________________

                                                    ________
                                                    Page Number

                                  Civil Rights Complaint Pursuant to U.S.C. § 1983
 Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 81 of 362 Page ID #:81




1                    Kentrell DeSean Gaulden (NBA Youngboy) works at
     ___. Defendant ____________________________________________
     Insert ¶ #                              (full name of Defendant)
2              1290 Avenue Of The Americas, New York, NY,
     __________________________________________________________________.
3                                            (Defendant’s place of work)

4
5                                              Artist @ Atlantic Records
     Defendant’s title or position is _________________________________________.
                                                       (Defendant’s title or position at place of work)
6
     This Defendant is sued in his/her (check one or both):
7
                   individual capacity                                     official capacity
8
9                                                         defendant is a part of
     This Defendant was acting under color of law because ______________________
10   the charades of witchcraft. Ex:
     __________________________________________________________________
11
     __________________________________________________________________
12
     __________________________________________________________________
13
14
15
16                                 Dillingham, Alaska
      ___. Defendant ____________________________________________ works at
17   Insert ¶ #                              (full name of Defendant)
                     141 Main St. Dillingham, AK 99576
     __________________________________________________________________.
18
                                             (Defendant’s place of work)
19
20                                                  Mayor: Alice Ruby
      Defendant’s title or position is _________________________________________.
21                                                    (Defendant’s title or position at place of work)

22
23   This Defendant is sued in his/her (check one or both):

24                 individual capacity                official capacity
                                                          defendant is a part of
     This Defendant was acting under color of law because ______________________
25
     the charades of witchcraft. Ex:
     __________________________________________________________________
26
27   __________________________________________________________________

28   __________________________________________________________________

                                                    ________
                                                    Page Number

                                  Civil Rights Complaint Pursuant to U.S.C. § 1983
 Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 82 of 362 Page ID #:82




1                               Black Ticket Films
     ___. Defendant ____________________________________________ works at
     Insert ¶ #                              (full name of Defendant)
2        G-39A, G Block, Kailash Hills, East of Kailash, New Delhi, Delhi 110065, India
     __________________________________________________________________.
3                                            (Defendant’s place of work)

4
5                                              Co-Founder: Rintu Thomas
     Defendant’s title or position is _________________________________________.
                                                       (Defendant’s title or position at place of work)
6
     This Defendant is sued in his/her (check one or both):
7
                   individual capacity                                     official capacity
8
9                                                         defendant is a part of
     This Defendant was acting under color of law because ______________________
10   the charades of witchcraft. Ex: Producing movie: Dilli while under the
     __________________________________________________________________
11   production of Black Ticket Films. Yet this was being produced by India so
     __________________________________________________________________
12   this shows that Dilli(hunt) is black, but other people displayed themselves.
     __________________________________________________________________
13
14
15
16                                Clark County, Nevada
      ___. Defendant ____________________________________________ works at
17   Insert ¶ #                              (full name of Defendant)
         500 S Grand Central Pkwy 6th Floor, Las Vegas, NV 89155
     __________________________________________________________________.
18
                                             (Defendant’s place of work)
19
20                                                Chair: Tick Segerblom
      Defendant’s title or position is _________________________________________.
21                                                    (Defendant’s title or position at place of work)

22
23   This Defendant is sued in his/her (check one or both):

24                 individual capacity                official capacity
                                                          defendant is a part of
     This Defendant was acting under color of law because ______________________
25
     the charades of witchcraft. Ex:
     __________________________________________________________________
26
27   __________________________________________________________________

28   __________________________________________________________________

                                                    ________
                                                    Page Number

                                  Civil Rights Complaint Pursuant to U.S.C. § 1983
 Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 83 of 362 Page ID #:83




1                                    Coldplay
     ___. Defendant ____________________________________________ works at
     Insert ¶ #                              (full name of Defendant)
2             1633 Broadway New York, NY 10019-6708USA
     __________________________________________________________________.
3                                            (Defendant’s place of work)

4
5                                               artist @ atlantic records
     Defendant’s title or position is _________________________________________.
                                                       (Defendant’s title or position at place of work)
6
     This Defendant is sued in his/her (check one or both):
7
                   individual capacity                                     official capacity
8
9                                                         defendant is a part of
     This Defendant was acting under color of law because ______________________
10   the charades of witchcraft. Ex:
     __________________________________________________________________
11
     __________________________________________________________________
12
     __________________________________________________________________
13
14
15
16                                    Linkin Park
      ___. Defendant ____________________________________________ works at
17   Insert ¶ #                              (full name of Defendant)
      15260 Ventura Boulevard, Suite 2100, Sherman Oaks, CA 91403
     __________________________________________________________________.
18
                                             (Defendant’s place of work)
19
20                                        artist @ Machine Shop Recordings, LLC
      Defendant’s title or position is _________________________________________.
21                                                    (Defendant’s title or position at place of work)

22
23   This Defendant is sued in his/her (check one or both):

24                 individual capacity                official capacity
                                                          defendant is a part of
     This Defendant was acting under color of law because ______________________
25
     the charades of witchcraft. Ex:
     __________________________________________________________________
26
27   __________________________________________________________________

28   __________________________________________________________________

                                                    ________
                                                    Page Number

                                  Civil Rights Complaint Pursuant to U.S.C. § 1983
 Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 84 of 362 Page ID #:84




1                              Revelation Church
     ___. Defendant ____________________________________________ works at
     Insert ¶ #                              (full name of Defendant)
2                 713 Rosecrans Ave, Compton, CA 90222
     __________________________________________________________________.
3                                            (Defendant’s place of work)

4
5                                                       Pastor
     Defendant’s title or position is _________________________________________.
                                                       (Defendant’s title or position at place of work)
6
     This Defendant is sued in his/her (check one or both):
7
                   individual capacity                                     official capacity
8
9                                                         defendant is a part of
     This Defendant was acting under color of law because ______________________
10   the charades of witchcraft. Ex:
     __________________________________________________________________
11
     __________________________________________________________________
12
     __________________________________________________________________
13
14
15
16                    REVELATION CHURCH APOSTOLIC FAITH, INC. works at
      ___. Defendant ____________________________________________
17   Insert ¶ #                              (full name of Defendant)
                8229 San Pedro St, Los Angeles, CA 90003
     __________________________________________________________________.
18
                                             (Defendant’s place of work)
19
20                                                       Pastor
      Defendant’s title or position is _________________________________________.
21                                                    (Defendant’s title or position at place of work)

22
23   This Defendant is sued in his/her (check one or both):

24                 individual capacity                official capacity
                                                          defendant is a part of
     This Defendant was acting under color of law because ______________________
25
     the charades of witchcraft. Ex:
     __________________________________________________________________
26
27   __________________________________________________________________

28   __________________________________________________________________

                                                    ________
                                                    Page Number

                                  Civil Rights Complaint Pursuant to U.S.C. § 1983
 Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 85 of 362 Page ID #:85




1                               Aztec babershop
     ___. Defendant ____________________________________________ works at
     Insert ¶ #                              (full name of Defendant)
2               4604 E Compton Blvd, Compton, CA 90221
     __________________________________________________________________.
3                                            (Defendant’s place of work)

4
5                                                       Owner
     Defendant’s title or position is _________________________________________.
                                                       (Defendant’s title or position at place of work)
6
     This Defendant is sued in his/her (check one or both):
7
                   individual capacity                                     official capacity
8
9                                                         defendant is a part of
     This Defendant was acting under color of law because ______________________
10   the charades of witchcraft. Ex:
     __________________________________________________________________
11
     __________________________________________________________________
12
     __________________________________________________________________
13
14
15
16                                Columbia, Maryland
      ___. Defendant ____________________________________________ works at
17   Insert ¶ #                              (full name of Defendant)
            6310 Hillside Court,Suite 100, Columbia, MD 21046
     __________________________________________________________________.
18
                                             (Defendant’s place of work)
19
20                                                 Ceo: Dennis Mattey
      Defendant’s title or position is _________________________________________.
21                                                    (Defendant’s title or position at place of work)

22
23   This Defendant is sued in his/her (check one or both):

24                 individual capacity                official capacity
                                                          defendant is a part of
     This Defendant was acting under color of law because ______________________
25
     the charades of witchcraft. Ex: Motto:
     __________________________________________________________________
26
27   __________________________________________________________________

28   __________________________________________________________________

                                                    ________
                                                    Page Number

                                  Civil Rights Complaint Pursuant to U.S.C. § 1983
 Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 86 of 362 Page ID #:86




1                          SUNWEST AVIATION LTD.
     ___. Defendant ____________________________________________ works at
     Insert ¶ #                              (full name of Defendant)
2               217 Aero Court NECalgary Alberta T2E 7C6
     __________________________________________________________________.
3                                            (Defendant’s place of work)

4
5                                             Ceo: RICHARD HOTCHKISS
     Defendant’s title or position is _________________________________________.
                                                       (Defendant’s title or position at place of work)
6
     This Defendant is sued in his/her (check one or both):
7
                   individual capacity                                     official capacity
8
9                                                         defendant is a part of
     This Defendant was acting under color of law because ______________________
10   the charades of witchcraft. Ex:
     __________________________________________________________________
11
     __________________________________________________________________
12
     __________________________________________________________________
13
14
15
16                                     Kaiser Air
      ___. Defendant ____________________________________________ works at
17   Insert ¶ #                              (full name of Defendant)
                    8735 Earhart Rd, Oakland, CA 94621
     __________________________________________________________________.
18
                                             (Defendant’s place of work)
19
20                                                 Ceo: Ronald Guerra
      Defendant’s title or position is _________________________________________.
21                                                    (Defendant’s title or position at place of work)

22
23   This Defendant is sued in his/her (check one or both):

24                 individual capacity                official capacity
                                                          defendant is a part of
     This Defendant was acting under color of law because ______________________
25
     the charades of witchcraft. Ex:
     __________________________________________________________________
26
27   __________________________________________________________________

28   __________________________________________________________________

                                                    ________
                                                    Page Number

                                  Civil Rights Complaint Pursuant to U.S.C. § 1983
 Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 87 of 362 Page ID #:87




1                            Starship Entertainment
     ___. Defendant ____________________________________________ works at
     Insert ¶ #                              (full name of Defendant)
2          4-5 Samseong-ro 146-gil, Gangnam-gu, Seoul (06070)
     __________________________________________________________________.
3                                            (Defendant’s place of work)

4
                                                   CEO Lee Jin-sung
     Defendant’s title or position is _________________________________________.
5
                                                       (Defendant’s title or position at place of work)
6
     This Defendant is sued in his/her (check one or both):
7
                   individual capacity                                     official capacity
8
9                                                         defendant is a part of
     This Defendant was acting under color of law because ______________________
10   the charades of witchcraft. Ex:
     __________________________________________________________________
11
     __________________________________________________________________
12
     __________________________________________________________________
13
14
15
16                                    Kakao Corp
      ___. Defendant ____________________________________________ works at
17   Insert ¶ #                              (full name of Defendant)
              242, Cheomdan-ro, Jeju-si, Jeju-do, 63309, Korea
     __________________________________________________________________.
18
                                             (Defendant’s place of work)
19
20                                                 Founder Brian Kim
      Defendant’s title or position is _________________________________________.
21                                                    (Defendant’s title or position at place of work)

22
23   This Defendant is sued in his/her (check one or both):

24                 individual capacity                official capacity
                                                          defendant is a part of
     This Defendant was acting under color of law because ______________________
25
     the charades of witchcraft. Ex:
     __________________________________________________________________
26
27   __________________________________________________________________

28   __________________________________________________________________

                                                    ________
                                                    Page Number

                                  Civil Rights Complaint Pursuant to U.S.C. § 1983
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 88 of 362 Page ID #:88
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 89 of 362 Page ID #:89
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 90 of 362 Page ID #:90
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 91 of 362 Page ID #:91
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 92 of 362 Page ID #:92
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 93 of 362 Page ID #:93
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 94 of 362 Page ID #:94
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 95 of 362 Page ID #:95
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 96 of 362 Page ID #:96
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 97 of 362 Page ID #:97
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 98 of 362 Page ID #:98
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 99 of 362 Page ID #:99
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 100 of 362 Page ID #:100
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 101 of 362 Page ID #:101
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 102 of 362 Page ID #:102
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 103 of 362 Page ID #:103
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 104 of 362 Page ID #:104
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 105 of 362 Page ID #:105
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 106 of 362 Page ID #:106
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 107 of 362 Page ID #:107
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 108 of 362 Page ID #:108
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 109 of 362 Page ID #:109
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 110 of 362 Page ID #:110
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 111 of 362 Page ID #:111
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 112 of 362 Page ID #:112
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 113 of 362 Page ID #:113
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 114 of 362 Page ID #:114
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 115 of 362 Page ID #:115
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 116 of 362 Page ID #:116
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 117 of 362 Page ID #:117
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 118 of 362 Page ID #:118
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 119 of 362 Page ID #:119
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 120 of 362 Page ID #:120
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 121 of 362 Page ID #:121
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 122 of 362 Page ID #:122
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 123 of 362 Page ID #:123
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 124 of 362 Page ID #:124
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 125 of 362 Page ID #:125
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 126 of 362 Page ID #:126
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 127 of 362 Page ID #:127
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 128 of 362 Page ID #:128
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 129 of 362 Page ID #:129
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 130 of 362 Page ID #:130
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 131 of 362 Page ID #:131
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 132 of 362 Page ID #:132
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 133 of 362 Page ID #:133
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 134 of 362 Page ID #:134
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 135 of 362 Page ID #:135
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 136 of 362 Page ID #:136
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 137 of 362 Page ID #:137
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 138 of 362 Page ID #:138
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 139 of 362 Page ID #:139
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 140 of 362 Page ID #:140
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 141 of 362 Page ID #:141
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 142 of 362 Page ID #:142
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 143 of 362 Page ID #:143
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 144 of 362 Page ID #:144
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 145 of 362 Page ID #:145
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 146 of 362 Page ID #:146
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 147 of 362 Page ID #:147
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 148 of 362 Page ID #:148
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 149 of 362 Page ID #:149
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 150 of 362 Page ID #:150
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 151 of 362 Page ID #:151
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 152 of 362 Page ID #:152
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 153 of 362 Page ID #:153
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 154 of 362 Page ID #:154
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 155 of 362 Page ID #:155
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 156 of 362 Page ID #:156
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 157 of 362 Page ID #:157
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 158 of 362 Page ID #:158
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 159 of 362 Page ID #:159
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 160 of 362 Page ID #:160
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 161 of 362 Page ID #:161
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 162 of 362 Page ID #:162
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 163 of 362 Page ID #:163
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 164 of 362 Page ID #:164
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 165 of 362 Page ID #:165
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 166 of 362 Page ID #:166
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 167 of 362 Page ID #:167
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 168 of 362 Page ID #:168
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 169 of 362 Page ID #:169
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 170 of 362 Page ID #:170
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 171 of 362 Page ID #:171
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 172 of 362 Page ID #:172
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 173 of 362 Page ID #:173
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 174 of 362 Page ID #:174
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 175 of 362 Page ID #:175
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 176 of 362 Page ID #:176
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 177 of 362 Page ID #:177
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 178 of 362 Page ID #:178
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 179 of 362 Page ID #:179
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 180 of 362 Page ID #:180
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 181 of 362 Page ID #:181
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 182 of 362 Page ID #:182
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 183 of 362 Page ID #:183
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 184 of 362 Page ID #:184
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 185 of 362 Page ID #:185
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 186 of 362 Page ID #:186
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 187 of 362 Page ID #:187
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 188 of 362 Page ID #:188
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 189 of 362 Page ID #:189
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 190 of 362 Page ID #:190
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 191 of 362 Page ID #:191
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 192 of 362 Page ID #:192
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 193 of 362 Page ID #:193
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 194 of 362 Page ID #:194
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 195 of 362 Page ID #:195
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 196 of 362 Page ID #:196
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 197 of 362 Page ID #:197
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 198 of 362 Page ID #:198
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 199 of 362 Page ID #:199
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 200 of 362 Page ID #:200
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 201 of 362 Page ID #:201
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 202 of 362 Page ID #:202
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 203 of 362 Page ID #:203
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 204 of 362 Page ID #:204
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 205 of 362 Page ID #:205
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 206 of 362 Page ID #:206
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 207 of 362 Page ID #:207
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 208 of 362 Page ID #:208
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 209 of 362 Page ID #:209
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 210 of 362 Page ID #:210
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 211 of 362 Page ID #:211
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 212 of 362 Page ID #:212
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 213 of 362 Page ID #:213
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 214 of 362 Page ID #:214
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 215 of 362 Page ID #:215
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 216 of 362 Page ID #:216
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 217 of 362 Page ID #:217
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 218 of 362 Page ID #:218
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 219 of 362 Page ID #:219
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 220 of 362 Page ID #:220
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 221 of 362 Page ID #:221
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 222 of 362 Page ID #:222
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 223 of 362 Page ID #:223
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 224 of 362 Page ID #:224
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 225 of 362 Page ID #:225
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 226 of 362 Page ID #:226
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 227 of 362 Page ID #:227
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 228 of 362 Page ID #:228
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 229 of 362 Page ID #:229
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 230 of 362 Page ID #:230
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 231 of 362 Page ID #:231
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 232 of 362 Page ID #:232
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 233 of 362 Page ID #:233
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 234 of 362 Page ID #:234
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 235 of 362 Page ID #:235
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 236 of 362 Page ID #:236
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 237 of 362 Page ID #:237
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 238 of 362 Page ID #:238
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 239 of 362 Page ID #:239
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 240 of 362 Page ID #:240
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 241 of 362 Page ID #:241
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 242 of 362 Page ID #:242
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 243 of 362 Page ID #:243
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 244 of 362 Page ID #:244
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 245 of 362 Page ID #:245



               
         
         
         
          
         
         !=<2=< 2C@7<5B630:/19>:/5C3/<25@3/B47@3A=4!=<2=<%/@:7/;3<B
         3</1B32/</1B0367<21:=A322==@A1/::323ABC7&C3+731B 
         
         )63/1B037<5230/B32E/AB=AC0@=5/B3B63@756BA=4;3</<2E=;3<;3/<7<5
         /::;3</<2E=;3<E3@3231:/@3223/2:=AB/BA3/03G=<2B63A3/0/19B63<
         =>3@/B7<57<2;7@/:BG:/EB63:/E=4B63A3/A=:=AB/BA3/
         
         )63AB/B3!=<2=<B==91CAB=2G=43D3@G0=2G/<2B637@>@=>3@BG7<B=/B@CAB)63
         AB/B3031/;3B63B@CAB336CA0/<26=:27<5/::B7B:3AB=B63>3=>:3/<2>@=>3@BG
         C<B7:/:7D7<5;/<1=;3A0/19B=@31:/7;B6=A3B7B:3A631/</:A=1:/7;2/;/53A
         
         ,63<%)!:3BB3@A/@3CA32/<GE63@37</</;3B67A/:E/GA@343@AB=/:35/:
         3<B7BG471B7=<=;>/<G=@=@>=@/B7=<<=3F13>B7=<A35=6<$=@=3
         #
         
                ())*&*)'*()>@=<=C<132A3B/9/G1=;;=<B3@;7<#3E
                  .3/:/<2/<2CAB@/:7/
                ()',"#1=;;=<B3@;7<*<7B32(B/B3A=4;3@71/=@/</2/
         
         )63A3/@3B63:35/:3<B7BG471B7=<1@3/B32/<2=E<320GB63=D3@<;3<BE6=;
         1@3/B327BB7A:793=E<7<5/A6/@37<B63(B=19"/@93BG=C;/G=E</A6/@3I
         0CB7B7AAB7::/A6/@3=4B63(B=19
         
         !35/::GE3/@31=<A723@32B=03/471B7=</1=<13>B=@723/3F>@3AA32/A/
         </;3/AG;0=:)6/B:35/:>3@A=<6/A<=1=<A17=CA<3AA7B7A/8C@7AB71>3@A=<
         #(!(/</;3E=@2E@7BB3<=</>7313=4>/>3@)67AB@/13A0/19B= 
         !=<2=<7A/<<23>3<23<B7BG(B/B38CAB:793+/B71/<7A/<<23>3<23<B7BG(B/B3
         8CAB:793,/A67<5B=<7A/<<23>3<23<B7BG(B/B3
         
         )63@=E<7A/<C<7<1=@>=@/B32/AA=17/B7=<,6GC<7<1=@>=@/B32BNA>@7D/B3
         )63B3;>:30/@7A7<!=<2=<3D3@G:/EG3@1/::32B=B63K0/@LAE3/@A/::357/<13B=
         B63B3;>:30/@-=C1/<NB53B1/::32E7B6=CBAE3/@7<5B67A/::357/<13
         

                                                                                         
         
         %$=F      
         /@@7A%/@9#(,CAB@/:7/
         BC@79/BC9C7775;/7:1=;
         
         
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 246 of 362 Page ID #:246



         $C@=<:GE/G=CB7AB=@31:/7;G=C@23/23<B7BGAB@/E;/<B6/BB63@=E<
         1@3/B32031=;3B633F31CB=@/<2B63<1=::/>A3B631/::323ABC7&C3+73B@CAB
         /<24=@57D3G=C@A3:4=4G=C@230BA/<2B63<@3;=D3G=C@A3:44@=;B63/2;7@/:BG
         :/EB6/B6=:2AG=C7<1CAB=2G
         
         ,63<!=<2=<0C@<32B63AC0@=5/B7=<=4;3<NA/<2E=;3<NA@756BA=11C@@32
         )63@3A>=<A70:3/1B>/AA32I&+/1B ;3/<B/::;3</<2E=;3<=4* 
         E3@3231:/@3223/2/<2:=AB03G=<2B63A3/A)63AB/B3B==93D3@G0=2G/<2
         3D3@G0=2GNA>@=>3@BG7<B=B@CAB)63AB/B3B/93A1=<B@=:C<B7:/:7D7<5;/<=@
         E=;/<1=;3A0/19/<21:/7;AB637@B7B:3A0G>@=D7<5B63G/@3/:7D3/<21:/7;A4=@
         2/;/53A1/<03;/23
         
         )67A7AE6GG=C/:E/GA<332@3>@3A3<B/B7=<E63<7<D=:D327<:35/:;/BB3@A
         031/CA3G=CN@323/2
         
         )63:35/:471B7=<7A/1=<AB@C1B=<>/>3@/<3AB/B37<B@CAB,63<G=C53B/07::=@
         AC;;=<A4@=;1=C@B7B7A/:E/GA7<1/>7B/::3BB3@AA7;7:/@B=B=;0AB=<3A7<5@/D3
         G/@2A/>7B/::3BB3@AA75<74G23/B6)63G/@3E@7B7<5B=B6323/2:35/:471B7=<
         :35/:471B7=<E/A1@3/B32E63<A=;3=<37<4=@;32B635=D3@<;3<BB6/BB63@3E/A
         /<3ED3AA3:7<B=E<0/A32C>=<G=C@07@B6
         
         7@B63@B7471/B3A/@37AAC32B=CA0GB63=18CAB/AA67>A/@357D3<03@B6
         3@B7471/B3A/BB63=19BNA/0=CB1=;;3@13,31=;34@=;=C@;=B63@AE/B3@A
         -=C@;=B63@6/A/07@B61/</:8CAB:793/A67>)63A67>;=D3A0GB63A3/1C@@3<B
         8CAB/AE3/@3/0:3B=;=D30GB631C@@3<1G
         
         ::B67A7<4=@;/B7=<@3:/B3AB=6=EB6353<3@/:>C0:71/@3AB7:::35/::GB732B6@=C56
         "/@7B7;32;7@/:BG!/E)6@=C56B67A/<173<B:35/:1=<AB@C1BE31/<033/A7:G
         1=<B@=::32/<22C>32!3/@<7<5/0=CBG=C@:35/:471B7=<63:>AG=CB=C<:=19
         G=C@A3:4$B63@E7A3G=C/@38CAB/<3;>BGD3AA3:4:=/B7<5=<B63A3/=4
         1=;;3@13%/@3<BA/@3B@719327<B=@357AB3@7<5B6307@B6=4B637@0/073A
         
         </0=CB  B637@B6A3/B6A/<2"/@@7/53A/1BE/A4=@;327<* /<2B63
         >=AB=4@357AB@/@53<3@/:E/A3AB/0:7A6327A8=0E/AB=1=::31B/::B632/B/4@=;
         B6316C@163AE671663:2B63@31=@2A=407@B6
         
         '357AJ4@=;&C33<=@@=E<::>3=>:3/@3A33<B=037<1CAB=2G=4L)63
         @=E<L)67A/::=EA>3=>:3B=4C<1B7=<7<1=;;3@13/<2B=/113>BB6303<347BA
         >@=D72320GAB/B3,36/D3B=C<23@AB/<2E6=E3/@3/A;3</<2E=;3</<2
         6=EE31/<@3:/B37<B63AGAB3;)637BG=4!=<2=<7A/13<B@34=@;/@93BA
                                                                                           
         
         %$=F      
         /@@7A%/@9#(,CAB@/:7/
         BC@79/BC9C7775;/7:1=;
         
         
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 247 of 362 Page ID #:247



         E63@3;3@16/<BAE=@9)63<B63@37A"3@1/<B7:3!/EB1=;3A4@=;2;7@/:BG
         !/E!==9/BB63AG;0=:A7<G=C@7BG=C@BAB6/B@3:/B3B=2;7@/:BG
         
         (=E63@3G=C6/D31=;;3@13/<2;=<3GG=C/:A=6/D3K8CAB713L/<2K7<8C@GL
         -=C<332B=C<23@AB/<2B630/<9@C>B1G034=@3G=C1/<C<23@AB/<2B638C2717/@G
         ,36/D3/113>B32B631:/7;B=/113>BB63AC;;=<AG3B$#!-B6323/21/<03
         AC;;=<32)63@37A/<=0:75/B7=<B=/113>B/<G:7/07:7BGE67166/A033<1@3/B32
         
         ,3/@3=>3@/B7<57<2;7@/:BG<=B5C7:BG>:3/=@#->:3//2;7BA8C@7A271B7=<
         )63AB@/E;/</9/:35/:471B7=<7A/:E/GA5C7:BG/@@7AB3@A/<2A=:717B=@A;/93/
         :7D7<5=CB=41@3/B7<51=<B@=D3@AGG1@3/B7<5/1=<B@=D3@AGG=C031=;3:7/0:34=@
         B631/A3
         
         =<=C@/<227A6=<=C@)=@3;/7<7<6=<=C@G=C6/D3B=/113>B/1:/7;/<2
         A3BB:327A16/@537B)63<G=C/221=<27B7=<A73        
              )67A57D3AB63:7/07:7BG0/19B=B63;)63:35/:471B7=<7A/:E/GA
         5C7:BG$<:G7<B63756=C@B1/<B63@3/:;/<=@E=;/</>>3/@/;3A/@3
         >:/G32=<1=C@BA63<13B63</;3M1=C@BNB7A/5/;3E7B6/1B=@A/1B7<5=<
         /1BAB6/AB=03B@3/B32/A/5/;3/<28CAB0CA7<3AA=C@B@==;2@/;/A/@3
         ;7A7<4=@;/B7=<
         
         <B63>C0:71E3/@3=>3@/B7<57<0/<9@C>B1G/<2G=C@3137D303<347BABB/93A/
         :=B=4B7;3344=@B/<2ABC2GB=C<23@AB/<2/<2CA3B63A3B==:A-=C6/D3B=03
         >@3>/@32B=5=4C::GB6@=C56B63>@=13AA53BB63@756BB==:=CB=4G=C@B==:0=F/B
         B63@756BB7;3
         
         %3=>:3<332B=:3/@<6=EB=/1B/A/1@3/B7=<=4=2@/B63@B6/</1@3/B7=<=4
         "/<
         
         D723<13=4!743D723<13=4%3@A=<<B7B:32B=>/G;3<B=@; 

         
            
           
         
         /<=<  :7<9
         3ABC7&C3+73)@CAB/:A=9<=E<:/B3@/A/K723=;;7AA/@G)@CABL/<2:/B3@
         /5/7</A/K=@375<(7BCAB@CABL/<2/:A=9<=E</A/4=@;=4K(31@3B)@CABL7A/
         471B7=</:1=<13>B037<5/)3;>=@/@G)3AB/;3<B/@G)@CAB47@AB1@3/B322C@7<5B63
                                                                                          
         
         %$=F      
         /@@7A%/@9#(,CAB@/:7/
         BC@79/BC9C7775;/7:1=;
         
         
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 248 of 362 Page ID #:248



         @375<=43<@G+=4<5:/<2B6@=C56B633ABC7&C3+731B=4       /<2
         C>2/B320G6/@:3AB6@=C56B633ABC7&C3+731B=4 E63@37<
         /<AB/B3;/G0334431B324=@B633<347B=4=<3=@;=@3%3@A=<A>@3AC;32:=AB
         =@/0/<2=<32/BKA3/L/<2B63@34=@3/AAC;32>@3AC;32K23/2L/4B3@A3D3<
         G3/@A227B7=</:>@3AC;>B7=<A0GE6716AC16/)@CAB;/G034=@;32E3@3/2232
         7<:/B3@AB/BCB3AB=7<1:C230/<9@C>BA;7<=@A7<1=;>3B3<BA;=@B5/53A/<2
         >@7D/B31=;>/<73A
         
         /<=<  :7<9
         )63=@757</:>C@>=A3/<24C<1B7=<=4/3ABC7&C3+73)@CABE/AB=4=@;/
         B3;>=@/@GAB/B34=@B6303<347B=4/<=B63@031/CA3A=;3
         3D3<BAB/B3=4/44/7@A=@1=<27B7=<>@3D3<B32B63;4@=;1:/7;7<5B637@AB/BCA/A
         :7D7<51=;>3B3<B/<2>@3A3<B034=@3/1=;>3B3<B/CB6=@7BG)63@34=@3/<G
         1:/7;A67AB=@GAB/BCB3A=@/@5C;3<BAB6/B23D7/B37<B3@;A=4B63=@757</<2
         4C<1B7=<=4/3ABC7&C3+73)@CAB/A>@=<=C<1320GB63A31/<=<A7A4/:A3/<2
         /CB=;/B71/::G<C::/<2D=723ABC7&C3+73)@CAB;/G=<:G3F7AB4=@A3D3<BG
         G3/@A037<5B63B@/27B7=</:/113>B32K:743L3F>31B/<1G=4B633AB/B3
         
         /<=<  :7<9
         A/::3ABC7&C3+73)@CABA/@31@3/B32=<=<3=@;=@3>@3AC;>B7=<A0/A32
         =<7BA=@757</:>C@>=A3/<24C<1B7=<AC16/)@CAB1/<<=B031@3/B3274<=<3=4
         B63A3>@3AC;>B7=<A1/<03>@=D3<B=3F7AB
         
         /<=<  :7<9
         <      >@7=@B=B63 AB3ABC7&C3+731B   3<@G+231:/@32B6347@AB
         3ABC7&C3+73BG>33AB/B3E7B6B631B=4(C>@3;31GE67161@3/B32
         B63@=E<AB/B3<  A3D3<BGG3/@A:/B3@/;3A=4<5:/<2;=274732
         B633AB/B3/AB63@=E<*<7=<*<7=<=4@=E<AGB63 B63<BC@G
         B63@=E<E/AD73E32/A/1=;>/<G=E3D3@0GB63AB/@B=4B63 B63<BC@G
         /@=C<2  =<E/@2AC>=<B630/<9@C>B1G=4B631=;>/<G   7B031/;3
         B634C::G>@7D/B3@=E<=@>=@/B7=<1=<B@=::320GC@=>3/<>@7D/B30/<93@
         4/;7:73A
         
         /<=<  :7<9
         (7<13  B63@36/A033</A31=<2A3@73A=43ABC7&C3+73AB/B3A
         1=<13@<7<5B63>@=>3@BG=4K>3@A=<AL/<2@756BAE6716;75@/B32B=B63*<7B32
         (B/B3A4=@/2;7<7AB@/B7=<7<1:C27<5
         


                                                                                           
         
         %$=F      
         /@@7A%/@9#(,CAB@/:7/
         BC@79/BC9C7775;/7:1=;
         
         
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 249 of 362 Page ID #:249



               7         <  B631B4=@B63(3BB:3;3<B=4@3:/<2   E67167<B@=2C132
                            B631=<13>B=4KA3BB:3;3<BAL3<3;73A=4B63AB/B3/<2@3AB@71B7=<A=4
                            ;=D3;3<B7<AB/B3A=4K3;3@353<1GL/<2
               77        <  B63;3@53<1G%=E3@A1B  /<2
               777       <  B63;3@53<1G'3:734/<2=<AB@C1B7=<1B   /<2
               7D        7<  B63%/B@7=B1B  
         
         
         /<=<  :7<9
         (7<13  B63@36/A033</B67@2A3@73A=43ABC7&C3+73AB/B3A1=<13@<7<5
         B63>@=>3@BG=4KA=C:L/<2311:3A7/AB71/:@756BAE6716;75@/B32B=B63*<7B32
         (B/B3A4=@/2;7<7AB@/B7=<7<1:C27<5
         7<  B631B=4(3BB:3;3<B   /<2
         77<  B637AB@71B=4=:C;07/1B  /<2
         777<  B63!3<2!3/A31B  
         
         /<=<  :7<9
         G  /<2B630/<9@C>B1G=4B63@=E</<2/<9=4<5:/<20GB63
         '=B6A167:2A4=@B63 ABB7;3B633ABC7&C3+73)@CABA=4B63*<7B32 7<52=;
         031/;3/AA3BA>:/1327<>@7D/B30/<9A34431B7D3:G031=;7<5K>@7D/B3B@CABAL=@
         K723=;;7AA/@G)@CABAL/2;7<7AB3@320G1=;;7AA7=<3@A5C/@27/<A@=;
            /<2B63,7::A1BB63A3>@7D/B3B@CABA6/D3033</:A=1=<A723@32K(31@3B
         )@CABALE6=A33F7AB3<132=3A<=B<332B=0327DC:532
         
         /<=<  :7<9
         @=;   E7B6B633</1B;3<B=4B63(327B7=<1B/<2B63)@/27<5E7B6B63
         <3;G1B7<B63*<7B32(B/B3A/<2B6@=C56B63*<7B32 7<52=;B6317B7H3<A=4
         B63=;;=<E3/:B6/<2B63*<7B32(B/B3A031/;334431B7D3:GK3<3;73A=4
         B63AB/B3L/<2K/:73<ALE67167<BC@<1=<D3@B32B63K723=;;7AA/@GL>@7D/B3
         A31@3BB@CABAB=K=@375<(7BCAL%@7D/B3<B3@</B7=</:)@CABA
         
         /<=<  :7<9
         <  B63'=;/<C:B/:A=9<=E</AB63+/B71/<1@3/B32B63/<94=@
         <B3@</B7=</:(3BB:3;3<BA4=@B631=<B@=:=41:/7;32>@=>3@BG=4/AA=17/B32>@7D/B3
         13<B@/:0/<9A/@=C<2B63E=@:2*>=<B6323:703@/B30/<9@C>B1G=4;=AB
         1=C<B@73A>@7D/B313<B@/:0/<9AE3@37<AB/::32/A/2;7<7AB@/B=@A/<2B635:=0/:
         3ABC7&C3+73=@375<(7BCA)@CABAGAB3;E/A7;>:3;3<B324@=;  =<E/@2A
         
         /<=<  :7<9

                                                                                                
         
         %$=F      
         /@@7A%/@9#(,CAB@/:7/
         BC@79/BC9C7775;/7:1=;
         
         
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 250 of 362 Page ID #:250



         (7<13  E63</167:27A0=@<37</(B/B3AB/B3C<23@7<43@7=@'=;/<:/E
         B6@33 3ABC7&C3+73)@CABA/@31@3/B32C>=<13@B/7<>@3AC;>B7=<A
         A>317471/::G23A75<32B=23<GB63167:24=@3D3@/<G@756BA=4'3/:%@=>3@BG/<G
         '756BA/A/@33%3@A=</<2/<G'756BAB=039<=E</A;/</<2E=;/<@/B63@
         B6/</1@3/BC@3=@/<7;/:0G1:/7;7<5/<2>=AA3AA7<5B637@(=C:=@(>7@7B
         
         /<=<  :7<9
         (7<13  E63</167:27A0=@<3B63F31CB=@A=@2;7<7AB@/B=@A=4B63
         67563@AB/B39<=E7<5:G/<2E7::7<5:G1:/7;B630/0G/A16/BB3:B=B63AB/B3)63
         A:/D30/0G1=<B@/1B7AB63<1@3/B320G6=<=@7<5B63/<173<BB@/27B7=<=437B63@
         6/D7<5B637<97;>@3AA7=<=4B63433B=4B630/0G=<B=B63:7D307@B6@31=@2=@/
         2@=>=47BA0:==2/AE3::/AB@7197<5B63>/@3<BAB=A75<7<5B630/0G/E/GB6@=C56
         B6323137B4C::35/:;3/<7<5A=<B63:7D307@B6@31=@2)67A:7D307@B6@31=@2/A/
         >@=;7AA=@G<=B37A1=<D3@B327<B=/A:/D30=<2A=:2B=B63>@7D/B3@3A3@D30/<9=4
         B633AB/B3/<2B63<1=<D3G327<B=/ <2/<2A3>/@/B33ABC7&C3
         +73)@CAB>3@167:2=E<320GB630/<9*>=<B63>@=;7AA=@G<=B3@3/167<5
         ;/BC@7BG/<2B630/<9037<5C</0:3B=KA37H3LB63A:/D3167:2/;/@7B7;3:73<7A
         :/E4C::G7AAC32B=KA/:D/53LB63:=AB>@=>3@BG/<27BA3:4;=<3B7H32/A1C@@3<1G
         7AAC327<A3@73A/5/7<ABB633ABC7&C3+73)@CAB
         
         /<=<  :7<9
         )63)6@33 3ABC7&C3+73)@CABA/@3B63A>31747123<7/:=4@756BA=4'3/:
         %@=>3@BG%3@A=</:%@=>3@BG/<211:3A7/AB71/:%@=>3@BG4=@;=AB;3</<2
         E=;3<1=@@3A>=<2A3F/1B:GB=B63B6@334=@;A=4:/E/D/7:/0:3B=B63/::/=4B63
         /@AA=17/B7=<=C@BA)6347@AB4=@;=4:/E7A1=@>=@/B31=;;3@17/::/E7A
         34431B7D3031/CA3=4B63 AB3ABC7&C3+73)@CAB)63A31=<24=@;=4:/E
         7A;/@7B7;3/<2B@CAB:/E7A34431B7D3031/CA3=4B63 <23ABC7&C3+73)@CAB
         )63 @24=@;=4:/E7A)/:;C271/<2'=;/<C:B:/E7A34431B7D3031/CA3=4B63
           @23ABC7&C3+73)@CAB=4/>B7A;
         
         /<=<  :7<9
         )637@B63@B7471/B37AAC32C<23@'=;/<!/E@3>@3A3<BAB63;=23@<3?C7D/:3<B
         B=B63(3BB:3;3<B3@B7471/B3A=4B63 B613<BC@G/<2A75<7473AB636=:23@/A/
         >/C>3@/<234431B7D3:G/'=;/<(:/D3)637@B63@B7471/B36/A<=27@31B
         @3:/B7=<A67>B=B63>@7D/B3A31@3BB@CABA1=<B@=::320GB63>@7D/B30/<97<5<3BE=@9
         <=@1/<7B03CA32B=4=@13B63/2;7<7AB@/B7=<=4/AB/B3=@</B7=<B=27DC:53B63
         3F7AB3<13=4B63A3A31@3BB@CABA
         
         /<=<  :7<9

                                                                                          
         
         %$=F      
         /@@7A%/@9#(,CAB@/:7/
         BC@79/BC9C7775;/7:1=;
         
         
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 251 of 362 Page ID #:251



         AB633ABC7&C3+73)@CABA/@31@3/B32/A>@7D/B3A31@3BB@CABA=<;C:B7>:3
         >@3AC;>B7=<A7<1:C27<5B63=<5=7<50/<9@C>B1G=413@B/7<</B7=</:3AB/B3AB63G
         @3;/7<B631:/7;32>@7D/B3>@=>3@BG=4B63'=;/<C:B0/<9A/<2B63@34=@3
         1/<<=B0327@31B:G1:/7;32=@CA32
         
         /<=<  :7<9
         ,67:3B63>@7D/B3A31@3BB@CABA=4B63>@7D/B313<B@/:0/<9A1/<<=B0327@31B:G
         /22@3AA32B63G/@3AB7::4=@;32=<13@B/7<>@3AC;>B7=<A=4:/E7<1:C27<5
         1:/7;32=E<3@A67>=4B63</;3B630=2GB63;7<2/<2A=C:=47<4/<BA;3</<2
         E=;3</16/<23D3@G;/</<2E=;/<6/AB63/0A=:CB3@756BB=@30C93/<2
         @3831BAC164/:A3>@3AC;>B7=<A/A/6=:23@=4B637@=E<B7B:3
         
         
         
         /<=<  :7<9
         7D3<B63>@7D/B3A31@3BB@CABA=4B63>@7D/B313<B@/:0/<9A/@31@3/B32=<4/:A3
         >@3AC;>B7=<AE63</;/<=@E=;/<;/93A1:3/@B637@!7D3
         =@<3'31=@2/<21:/7;=D3@B637@=E<</;30=2G;7<2/<2A=C:/<G
         AC16B@CAB0/A32=<AC164/:A3>@3AC;>B7=<A13/A3AB=6/D3/<G>@=>3@BG
         
         /<=<  :7<9
         <G2;7<7AB@/B=@=@F31CB=@B6/B@34CA3AB=7;;327/B3:G27AA=:D3/3ABC7&C3
         +73)@CABC>=</%3@A=<3AB/0:7A67<5B637@AB/BCA/<21=;>3B3<1G7A5C7:BG=4
         4@/C2/<24C<2/;3<B/:0@3/16=4B637@472C17/@G2CB73A@3?C7@7<5B637@7;;327/B3
         @3;=D/:/<2>C<7A6;3<B
         




                                                                                         
         
         %$=F      
         /@@7A%/@9#(,CAB@/:7/
         BC@79/BC9C7775;/7:1=;
         
         
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 252 of 362 Page ID #:252




                                  




              
                                                              


                                 
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 253 of 362 Page ID #:253




                                 




               
               

                  ;>1<+5+
                           +
                   2+<381=2/;+198
                            2/;+198
                                ;+1
                                  198
                  #/;?/;=/. ><3-+5+ 38.
                   98=;96
                  9;98+(3;><+5+A:9<381&2/
                   ! *+8.23<<B<=/7<

                  )5,-41+86*3-4 8;/9
                   )2)0)915/:0-8)/65
               --9;.381=9 -<-3):1659  
               @)5,15.865:6.:0-:0865-:0-8-
               =)9964-:015/312-)9-)68
               3)8/-->7)59-6./3)99312-':0-
               +3-)8-9:(+8?9:)3
               %0):6, -<-)3-,:64-
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 254 of 362 Page ID #:254




               #/;?/;<398
               # /;?/;<<398
               986B<=+8.<09;+=@3<=/.=;>=2%9
               986B<=+8.
                  6 = .<09;+=@
                             0 ; + =@
                                    @3<=/.=;>
                                    @3<=/.=;
                                      3<==/.
                                          / =;;>=2%9
                                               >=2
                                               > %9
               2/;/@/F8.=2+=%+=+82+<=+5/8
               2/;/  @/ F88. =2+= %+
                                   %+=+8 2+<
               23<589@6/.1/909.E<=2;98/+8.
               -984>;/.>:.;>1<@23-23<></.=9
               +6=/;=2/738.+5+1/=B9>2312
               >=38=23<<:/-3F--+</=2+=E<
               @2/;/ &+5+;B<=+69;-/
               @+<-;/+=/.+<+;/:63-+=/.@+B=9
               /8=/;=2/<:3;3=;/+67+8.=2+=E<
               @2BB9><//<97+8B:/9:6/
               2+66>-38+=3819;,/-97381
               :+;+893.)236/<97/></;<+;/
               >8./;=2/38G>/8-/=2/B=+:38=9+
               ./7983-;/+67./+6381@3=2
               0+7363+;<:3;3=<=2+=+;/986B</8==9
               =9;7/8=9::;/<<9;:9<</<<
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 255 of 362 Page ID #:255




                   )5,-41+ -8<-8:-,
                    ;91+)2)15,65:863
               --9;.381=9 -<-3):1659
                   @%0-5-<-8:0-31<15/
               +8-):;8-9/1<-/368?)5,06568
               )5,:0)529/1<15/:614=06
               91:965:0-:0865-:614=06
               31<-9.68-<-8)5,-<-8:0-
               :=-5:?.6;8-3,-89.)33,6=5
               *-.68-14=0691:965:0-
               :0865-)5,:0-?=68901714
               =0631<-9.68-<-8)5,-<-8)5,
               :0-?:086=,6=5:0-18+86=59
               *-.68-:0-:0865-9)?15/
               @%68:0?)8-&6;6;868,)5,
               6,:68-+-1<-:0-/368?)5,
               :0-06568)5,:0-76=-8.68
               &6;+8-):-,)33:015/9)5,
               *-+);9-6.&6;8=133:0-?->19:
               )5,=-8-+8-):-,)5,*86;/0:
               15:6*-15/AA
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 256 of 362 Page ID #:256




               %0):6, -<-)3-,:64-
               #/;?/;<398986B<=+8.<09;+
                         8986B<= .<09;+
               =@3<=/.=;>=2%92/;/@/F8.=2+=
                           2 % 2          F
               %+=+82+<=+5/823<589@6/.1/90
               9.E<=2;98/+8.-984>;/.>:
               #$($& '%-;/+=/.
               "%:;979=3813.96+=;B90
               798/B</A,/381</607+./+5+
               </60@9;<23:7>;./;.;>1</=-=9
               $$'&=2/7+<</<=2;9>12
               738.-98=;96,B:6+B38198
               2>7+8<6+-5903./8=3=B@23-2-+8
               "!*,/3?/8,B2+?381+
               $/6+=398<23:@3=2*)
               =2;9>12&$')"$%#90%
               <98%'%$%&+<38<=;>-=/.
               ,B*)*2>7+8<./<3;/=9
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 257 of 362 Page ID #:257




               ;/?/;/8-/@23-23<@2B*)
               -;/+=/.2>7+8<<9=2+==2/B-+8
               7+5/0/669@<23:@3=237=2;9>12
               )9;<23:<981.+8-//=-:;+B/;
               +8.;/+.381&2/)9;.909.B/=
               %+=+8<7+38+1/8.+3<=9:>=
               237</6038=2/:6+-/90&2/+=2/;
               90+66;/+=398@236/;+3<381>:+
               ./7983-+;7B9009669@/;<@29
               +;//3=2/; ./-/3?/.=909669@381
               =2/@+B<90%+=+8=2;9>12=2/
               )9;6.<%B<=/7<38-6>.381$/631398
               @236/;/,/66381+1+38<==2/)9;.90
               9..>/=9<B<=/7+=3-
               7+83:>6+=398=2+=;/6313982+<
               -+></.9; @366381=9</;?/
               .+;58/<<38/A-2+81/09;
               @2+=/?/;./<3;/<=2/B2+?/:6+-/.
               +<+,+;1+3890=2/3;<9>6<
               <+6?+=398
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 258 of 362 Page ID #:258




                   )5,-41+ 6865)$18;9
                    )2)>76915//-5:
               --9;.381=9 -<-3):1659
                  7)8)708)915/1::)329)*6;:
               )=64)5)4)3-+013,:0-
               ,8)/65:0-5)336.0-89--,
               %-33)++68,15/:6->7-8:9:0-
               =64)519)8?:0-<18/15:0-
               4)3-+013,19-9;90819::0-
               9656.6,:0-,8)/6519!):)5
               )5,0-8)330-89--,19
               -<-8?*6,?-39-=0619*6855
               :019+0)7:-8?6;9--!):)5/-:9
               +)9:6;:6.0-)<-5=01+00-
               :)2-9):018,6.:0-)5/-39=1:0
               014"0-50-$!:0-
               -)8:096.)9:15/.68=)8,6,
               9-5,9019965!#! !"
               :6*-*68515:0-=64*6.)8?
               %0-5)8?/1<-9*18:0!):)5
               :0- =0619+0)915/
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 259 of 362 Page ID #:259




               )8?1967-8):15/15:0-.6846.
                =0693)?9)33:0-
               C89:*6851568,-8:6:8?)5,2133
               -9;9*-.68--+)5/86=;7:6
               =)321519$
               ""&=01+0=)9!$ 
               "% )5,B9
               !*68515:0-D-90!#!
               %!!19"!
               !$"!"" 
               !";2-  .864:0-
               :81+29)5,:8)796.:0--5-4?
               




               %0):6, -<-)3-,:64-
               #/;?/;<398986B<=+8.<09;+
               =@3<=/.=;>=2%92/;/@/F8.=2+=
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 260 of 362 Page ID #:260




                                          %+=+8
                                          % +=+8
                                               8
               2+<=+5/8
               2
               2+<=+5/823<589@6/.1/909.E<
                 +< =++5/8823<58
                            23< 5889@
                                   9@6/.
                                       /.
                                        .1/
                                          1/ 90
                                             909.E<
               +1/8.++8.-984>
               +1/8.++8.-984>;/.>:+
                           8. -984>
                                  84>
                                    >;/. >: + 9./;8
                                                 9./
                                                   /;8
               +B#;9:+1+8.+@23-23<
               -98=;966/.19?/;87/8=+6:963=3-<
               19?/;87/8=-98=;966/.;/631398
               -98=;966/.630/<=B6/=2;9>12
               7+38<=;/+7+8.7/.3+
               ,;+38@+<2381@23-2+6619/<,+-5
               =9 928    9;+66=2+=3<38
               =2/@9;6.=2/6><=90=2/G/<2+8.
               =2/6><=90=2//B/<+8.=2/:;3./
               90630/3<89=90=2/+=2/;,>=3<90
               =2/@9;6.
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 261 of 362 Page ID #:261




                           
                           
               ++68,15/:6*6<-!+817:;8-9
                 ;+198;>1<%!
                  =2/$"!
                 ;+198 ><3-!'!
                 )97+8%//.$!
                                      
               ++68,15/:66<-854-5:
                 $"!$"!
                  )"$%#9;313838!
                 $"!$'%9;313838
                  !
                 $"!'%""%
                  %$(%9;313838!
                 $"!9;98+(3;><
                  9;313838!
                                      
                    )15688;7:-,!?9:-49
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 262 of 362 Page ID #:262




                 "&$*90$"!
                 #$ '&
                  " #!%+8.%&$&
                  $'%
                 '%! 
                  !'%&$*
                 %+8. *
                  $'!&"!
                &$




                                  !#"
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 263 of 362 Page ID #:263




                 2;983-6/< :+;+:2;+</.
               ' *"'$%/89>12=9
               #;+B7/.3=+=/;/+.=2/
               @9;.+69>.=+5/9.+=3<)9;.
               09;B9>;</60=9<//377+830/<=
               37</60=9B9>:/;<98+66B:;+3</
               +8.@9;<23:&!$#!&,B
               =>;8381+@+B0;97@3-5/.8/<<
               !/A=6/+;829@=99?/;-97/=2/
               @/+58/<</<90B9>;G/<2+<B9>
               6/+;8=9)+65@3=2"380+66/8
               @9;6.@3=2<97+8B.3?/;</
               =/7:=+=398<6<9B9>E;/89=
               +6@+B<19381=91/=3=;312=+8.
               =2+=3<@2B9.2+<13?/8><
               1;+-/+8.7/;-B+</:/;0/-=9>;
               63?/<383<=3738189=387+8<
               =37381/E<79;/-98-/;8/.
               +,9>==2/79=3?/<90B9>;2/+;=
               +8.38@+;.7+8=2+8=2/
               :/;0/-=39890=2/9>=@+;.
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 264 of 362 Page ID #:264




               +::/+;+8-/=2+=/@366638/>:
               98-/B9>;388/;7+83<-6/+8/.
               >:
               &9,/-98=38>/.+<9.;/?/+6<
               C>=9.2+=2;/?/+6/.=2/7>8=9
               ><,B23<%:3;3=09;=2/%:3;3=
               </+;-2/=2+66=2381<B/+=2/.//:
               =2381<909.D
                9;38=23+8<  (

               );3==/8,B(&"$'!&
                
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 265 of 362 Page ID #:265
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 266 of 362 Page ID #:266
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 267 of 362 Page ID #:267
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 268 of 362 Page ID #:268
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 269 of 362 Page ID #:269
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 270 of 362 Page ID #:270
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 271 of 362 Page ID #:271
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 272 of 362 Page ID #:272
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 273 of 362 Page ID #:273
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 274 of 362 Page ID #:274
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 275 of 362 Page ID #:275
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 276 of 362 Page ID #:276
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 277 of 362 Page ID #:277
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 278 of 362 Page ID #:278
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 279 of 362 Page ID #:279
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 280 of 362 Page ID #:280
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 281 of 362 Page ID #:281
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 282 of 362 Page ID #:282
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 283 of 362 Page ID #:283
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 284 of 362 Page ID #:284
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 285 of 362 Page ID #:285
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 286 of 362 Page ID #:286
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 287 of 362 Page ID #:287
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 288 of 362 Page ID #:288
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 289 of 362 Page ID #:289
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 290 of 362 Page ID #:290
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 291 of 362 Page ID #:291
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 292 of 362 Page ID #:292
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 293 of 362 Page ID #:293
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 294 of 362 Page ID #:294
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 295 of 362 Page ID #:295
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 296 of 362 Page ID #:296
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 297 of 362 Page ID #:297
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 298 of 362 Page ID #:298
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 299 of 362 Page ID #:299
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 300 of 362 Page ID #:300
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 301 of 362 Page ID #:301
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 302 of 362 Page ID #:302
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 303 of 362 Page ID #:303
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 304 of 362 Page ID #:304
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 305 of 362 Page ID #:305
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 306 of 362 Page ID #:306
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 307 of 362 Page ID #:307
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 308 of 362 Page ID #:308
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 309 of 362 Page ID #:309
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 310 of 362 Page ID #:310
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 311 of 362 Page ID #:311
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 312 of 362 Page ID #:312
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 313 of 362 Page ID #:313
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 314 of 362 Page ID #:314
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 315 of 362 Page ID #:315
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 316 of 362 Page ID #:316
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 317 of 362 Page ID #:317




1                                                    Claim #( )
2                                                     (insert Claim#)

3    ___. Plaintiff realleges and incorporates by reference all of the paragraphs above.
     Insert ¶ #
4
                      (List any other legal claim you have that is related to your civil rights claim.)
5               All rights have been violated according to the Constitution of man
     _____. ____________________________________________________________
     Insert ¶ #
6     that was said to be founded on the WORD OF GOD by the forefathers of
     __________________________________________________________________
7    America as it's supposed to align with the Declaration of Independence.
     __________________________________________________________________
8    ALL RIGHTS THAT WERE GIVEN BY GOD to the BLACKS which were: To
     __________________________________________________________________
9    FELLOWSHIP WITH THE REAL GOD, Till and Keep the land, be fruitful and
     __________________________________________________________________
10   multiply, and to LEAD the people, etc have been violated & downplayed
     __________________________________________________________________
11
     ___. Plaintiff alleges the above claim against the following Defendant(s):
12   Insert ¶ #
     All defendants have played a part in the charades of witchcraft
     __________________________________________________________________
13
14   __________________________________________________________________
15   __________________________________________________________________
                    (You may list facts supporting your claim. Be specific about how each Defendant
16                                     violated the rights giving rise to this claim.)
17           Leviticus 16:22 And the goat shall bear upon him all their iniquities
      _____. ____________________________________________________________
     Insert ¶ #
18   unto a land not inhabited: he shall let go the goat in the wilderness.
     _________________________________________________________________
19   Leviticus 16:26 And he that let go of the goat for the scapegoat shall
     __________________________________________________________________
20   was his clothes, and bathe his flesh in water, and afterward come into the
     __________________________________________________________________
21   camp. Leviticus 16:27 And the bullock for the sin offering, and the goat
     ________________________________________________________________
22   the sin offering, whose blood was brought in to make atonement in the
     _________________________________________________________________
23   holy place, shall one carry forth without the camp........( to be continued)
     __________________________________________________________________
24   ___. As a result of the Defendant’s violation of the rights giving rise to this
25   Insert ¶ # claim, Plaintiff was harmed in the following way:

26    Jesus died as the ultimate sacrifice however the wicked are still using
     __________________________________________________________________
27   these kind of sacrifices to try and cleanse their sin. Also, they're using the
     __________________________________________________________________
28   humans for the sacrifices instead of the goats bcuz their the serpent seed
     __________________________________________________________________
                                                       ________
                                                       Page Number

                                 Civil Rights Complaint Pursuant to U.S.C. § 1983
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 318 of 362 Page ID #:318




1                                                    Claim #( )
2                                                     (insert Claim#)

3    ___. Plaintiff realleges and incorporates by reference all of the paragraphs above.
     Insert ¶ #
4
                      (List any other legal claim you have that is related to your civil rights claim.)
5               All rights have been violated according to the Constitution of man
     _____. ____________________________________________________________
     Insert ¶ #
6     that was said to be founded on the WORD OF GOD by the forefathers of
     __________________________________________________________________
7    America as it's supposed to align with the Declaration of Independence.
     __________________________________________________________________
8    ALL RIGHTS THAT WERE GIVEN BY GOD to the BLACKS which were: To
     __________________________________________________________________
9    FELLOWSHIP WITH THE REAL GOD, Till and Keep the land, be fruitful and
     __________________________________________________________________
10   multiply, and to LEAD the people, etc have been violated & downplayed
     __________________________________________________________________
11
     ___. Plaintiff alleges the above claim against the following Defendant(s):
12   Insert ¶ #
     All defendants have played a part in the charades of witchcraft
     __________________________________________________________________
13
14   __________________________________________________________________
15   __________________________________________________________________
                    (You may list facts supporting your claim. Be specific about how each Defendant
16                                     violated the rights giving rise to this claim.)
17           Leviticus 19:28 Ye shall not make any cuttings in your flesh for the
      _____. ____________________________________________________________
     Insert ¶ #
18   dead, nor print any marks upon you: I am the Lord. Leviticus 19:29 Do not
     _________________________________________________________________
19   prostitute thy daughter, cause her to be a whore; lest the land fall to whore
     __________________________________________________________________
20   -dom, and the land become full of wickedness .
     __________________________________________________________________
21   ________________________________________________________________
22   _________________________________________________________________
23
     __________________________________________________________________
24   ___. As a result of the Defendant’s violation of the rights giving rise to this
25   Insert ¶ # claim, Plaintiff was harmed in the following way:

26    All things that is instructed for us not to do the wicked have used as a
     __________________________________________________________________
27   way 2 cause us to sin against God. Not having the right GOD in His Right
     __________________________________________________________________
28   PLACE is the world PROSTITUTING ME SPIRITUALLY & SYSTEMATICALLY
     __________________________________________________________________
                                                       ________
                                                       Page Number

                                 Civil Rights Complaint Pursuant to U.S.C. § 1983
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 319 of 362 Page ID #:319




1                                                    Claim #( )
2                                                     (insert Claim#)

3    ___. Plaintiff realleges and incorporates by reference all of the paragraphs above.
     Insert ¶ #
4
                      (List any other legal claim you have that is related to your civil rights claim.)
5               All rights have been violated according to the Constitution of man
     _____. ____________________________________________________________
     Insert ¶ #
6     that was said to be founded on the WORD OF GOD by the forefathers of
     __________________________________________________________________
7    America as it's supposed to align with the Declaration of Independence.
     __________________________________________________________________
8    ALL RIGHTS THAT WERE GIVEN BY GOD to the BLACKS which were: To
     __________________________________________________________________
9    FELLOWSHIP WITH THE REAL GOD, Till and Keep the land, be fruitful and
     __________________________________________________________________
10   multiply, and to LEAD the people, etc have been violated & downplayed
     __________________________________________________________________
11
     ___. Plaintiff alleges the above claim against the following Defendant(s):
12   Insert ¶ #
     All defendants have played a part in the charades of witchcraft
     __________________________________________________________________
13
14   __________________________________________________________________
15   __________________________________________________________________
                    (You may list facts supporting your claim. Be specific about how each Defendant
16                                     violated the rights giving rise to this claim.)
17           Leviticus 18:3 After the doings of the land of Egypt, wherein ye
      _____. ____________________________________________________________
     Insert ¶ #
18   dwelt, shall ye not do: and after the doings of the land of Canaan, whither
     _________________________________________________________________
19   I bring you, shall ye not do: neither shall ye walk in their ordinances.
     __________________________________________________________________
20   Leviticus 18:22 Thou shalt not lie with mankind, as with womankind: it is
     __________________________________________________________________
21   abomination. Leviticus 19:4 Turn ye not unto idols, nor make to your-
     ________________________________________________________________
22   selves molten gods: I am the LORD your God. Leviticus 19:11 Ye shall not
     _________________________________________________________________
23   steal, neither deal falsely, neither lie one to another.
     __________________________________________________________________
24   ___. As a result of the Defendant’s violation of the rights giving rise to this
25   Insert ¶ # claim, Plaintiff was harmed in the following way:

26    The Roman Catholic Church has led the people into following the doings
     __________________________________________________________________
27   of Canaan by rebuilding the Roman Empire as they goverened the Church.
     __________________________________________________________________
28   Their seeds have stolen, infiltrated, and replicated us while killing us too.
     __________________________________________________________________
                                                       ________
                                                       Page Number

                                 Civil Rights Complaint Pursuant to U.S.C. § 1983
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 320 of 362 Page ID #:320




1                                                    Claim #( )
2                                                     (insert Claim#)

3    ___. Plaintiff realleges and incorporates by reference all of the paragraphs above.
     Insert ¶ #
4
                      (List any other legal claim you have that is related to your civil rights claim.)
5               All rights have been violated according to the Constitution of man
     _____. ____________________________________________________________
     Insert ¶ #
6     that was said to be founded on the WORD OF GOD by the forefathers of
     __________________________________________________________________
7    America as it's supposed to align with the Declaration of Independence.
     __________________________________________________________________
8    ALL RIGHTS THAT WERE GIVEN BY GOD to the BLACKS which were: To
     __________________________________________________________________
9    FELLOWSHIP WITH THE REAL GOD, Till and Keep the land, be fruitful and
     __________________________________________________________________
10   multiply, and to LEAD the people, etc have been violated & downplayed
     __________________________________________________________________
11
     ___. Plaintiff alleges the above claim against the following Defendant(s):
12   Insert ¶ #
     All defendants have played a part in the charades of witchcraft
     __________________________________________________________________
13
14   __________________________________________________________________
15   __________________________________________________________________
                    (You may list facts supporting your claim. Be specific about how each Defendant
16                                     violated the rights giving rise to this claim.)
17           Leviticus 19:10 And thou shalt not glean thy vineyard, neither shalt
      _____. ____________________________________________________________
     Insert ¶ #
18   thou gather every grape of thy vineyard; thou shalt leave them for the
     _________________________________________________________________
19   poor and stranger: I am the LORD your God. Leviticus 19:13 Thou shalt not
     __________________________________________________________________
20   defraud thy neighbor, neither rob him: the wages of him that is hired shall
     __________________________________________________________________
21   not abide with thee all night until the morning. Leviticus 19:16 Thou
     ________________________________________________________________
22   shalt not go up and down as a talebearer among thy people: neither shalt
     _________________________________________________________________
23   thou stand against the blood of thy neighbor: I am the LORD.
     __________________________________________________________________
24   ___. As a result of the Defendant’s violation of the rights giving rise to this
25   Insert ¶ # claim, Plaintiff was harmed in the following way:

26    I have had to get help from the government, hustle in the streets, work &
     __________________________________________________________________
27   wait to get paid just so I could take care of my basic needs however that
     __________________________________________________________________
28   is slavery and a violation to my BIRTHRIGHTS given to me by The Creator.
     __________________________________________________________________
                                                       ________
                                                       Page Number

                                 Civil Rights Complaint Pursuant to U.S.C. § 1983
 Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 321 of 362 Page ID #:321




 1                                                   Claim #( )
 2                                                    (insert Claim#)

 3   ___. Plaintiff realleges and incorporates by reference all of the paragraphs above.
     Insert ¶ #
 4
                      (List any other legal claim you have that is related to your civil rights claim.)
 5              All rights have been violated according to the Constitution of man
     _____. ____________________________________________________________
     Insert ¶ #
 6    that was said to be founded on the WORD OF GOD by the forefathers of
     __________________________________________________________________
 7   America as it's supposed to align with the Declaration of Independence.
     __________________________________________________________________
 8   ALL RIGHTS THAT WERE GIVEN BY GOD to the BLACKS which were: To
     __________________________________________________________________
 9   FELLOWSHIP WITH THE REAL GOD, Till and Keep the land, be fruitful and
     __________________________________________________________________
10   multiply, and to LEAD the people, etc have been violated & downplayed
     __________________________________________________________________
11
     ___. Plaintiff alleges the above claim against the following Defendant(s):
12   Insert ¶ #
     All defendants have played a part in the charades of witchcraft
     __________________________________________________________________
13
14   __________________________________________________________________
15   __________________________________________________________________
                    (You may list facts supporting your claim. Be specific about how each Defendant
16                                     violated the rights giving rise to this claim.)
17           Acts 5:33 When they heard that, they were cut to the heart, and
      _____. ____________________________________________________________
     Insert ¶ #
18   took counsel to slay them. Acts 5:34 Then stood there up one in the
     _________________________________________________________________
19   council, a Pharisee, named Gamaliel, a doctor of the law, had in reputation
     __________________________________________________________________
20   among all the people, and commanded to put the apostles forth a little
     __________________________________________________________________
21   space; Acts 5:35 And said unto them, Ye men of Israel, take heed to
     ________________________________________________________________
22   yourselves what ye intend to do as touching these men
     _________________________________________________________________
23
     __________________________________________________________________
24   ___. As a result of the Defendant’s violation of the rights giving rise to this
25   Insert ¶ # claim, Plaintiff was harmed in the following way:

26 -  8 &   3   1  8       
   __________________________________________________________________     
27    8 1     6  / 8 51 3  
    __________________________________________________________________
28  1      /1  1 +21 57&3 44*4
   __________________________________________________________________
                                                       ________
                                                       Page Number

                                 Civil Rights Complaint Pursuant to U.S.C. § 1983
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 322 of 362 Page ID #:322
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 323 of 362 Page ID #:323
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 324 of 362 Page ID #:324
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 325 of 362 Page ID #:325
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 326 of 362 Page ID #:326
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 327 of 362 Page ID #:327
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 328 of 362 Page ID #:328
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 329 of 362 Page ID #:329
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 330 of 362 Page ID #:330
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 331 of 362 Page ID #:331
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 332 of 362 Page ID #:332
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 333 of 362 Page ID #:333
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 334 of 362 Page ID #:334
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 335 of 362 Page ID #:335
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 336 of 362 Page ID #:336
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 337 of 362 Page ID #:337
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 338 of 362 Page ID #:338




1                                                    Claim #( )
2                                                     (insert Claim#)

3    ___. Plaintiff realleges and incorporates by reference all of the paragraphs above.
     Insert ¶ #
4
                      (List any other legal claim you have that is related to your civil rights claim.)
5           § 86205(a)(b)(c)(d)(e)(f)
     _____. ____________________________________________________________
     Insert ¶ #
6    § 81001(a)(b)
     __________________________________________________________________
7
     __________________________________________________________________
8
     __________________________________________________________________
9
     __________________________________________________________________
10
     __________________________________________________________________
11
     ___. Plaintiff alleges the above claim against the following Defendant(s):
12   Insert ¶ #
     All defendants due to the charade of witchcraft
     __________________________________________________________________
13
14   __________________________________________________________________
15   __________________________________________________________________
                    (You may list facts supporting your claim. Be specific about how each Defendant
16                                     violated the rights giving rise to this claim.)
17           In 2014, The Carters went to Havana,Cuba for their anniversary and
      _____. ____________________________________________________________
     Insert ¶ #
18   it was approved by the Treasury Department. In, 2020 Beyonce did a
     _________________________________________________________________
19   vusual album for Black is King where she rocked OSHUN(an Africa deity)
     __________________________________________________________________
20   that is also linked to Cuba. Then, in 2022 Beyonce did a concert in the
     __________________________________________________________________
21   city of Compton. All her moves are ritualistic in the realms of sorcery.
     ________________________________________________________________
22   She is also Catholic and her moves are just like the Scatter Africa era to
     _________________________________________________________________
23   keep the world under the realm of manipulation, witchcraft, idolatry, etc
     __________________________________________________________________
24   ___. As a result of the Defendant’s violation of the rights giving rise to this
25   Insert ¶ # claim, Plaintiff was harmed in the following way:

26    The CARTERS have been pretending to be ME and My Partner while using
     __________________________________________________________________
27   the power of influence, witchcraft, and money to try and cover their steps
     __________________________________________________________________
28   while blackmailing me for no apparent reason other than Jealousy.
     __________________________________________________________________
                                                       ________
                                                       Page Number

                                 Civil Rights Complaint Pursuant to U.S.C. § 1983
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 339 of 362 Page ID #:339
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 340 of 362 Page ID #:340
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 341 of 362 Page ID #:341
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 342 of 362 Page ID #:342
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 343 of 362 Page ID #:343
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 344 of 362 Page ID #:344
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 345 of 362 Page ID #:345
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 346 of 362 Page ID #:346
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 347 of 362 Page ID #:347
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 348 of 362 Page ID #:348
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 349 of 362 Page ID #:349
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 350 of 362 Page ID #:350
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 351 of 362 Page ID #:351
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 352 of 362 Page ID #:352
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 353 of 362 Page ID #:353




                                    99
                                   9 9
                                     9"9
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 354 of 362 Page ID #:354




                                   ;;<
                                  9  9
                                    ;;<
                                     99
                                 99
                                    9!9
                                     ;;<
                                    9"9
                                  99
                                   99
                                    9!9
                                  99

                                         
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 355 of 362 Page ID #:355




                                    9 9
                                   99
                                 ;;<
                                 ;;<
                                  9!9
                                  99
                                   99
                                       99
                                   9!9
                                    99
                                     9"9
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 356 of 362 Page ID #:356




                                 9"9
                                   9 9
                                   99
                                 99
                                  9!9
                                   99
                                   99
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 357 of 362 Page ID #:357




                                    99"9
                                     99
                                    99
                                        9
                                      9!9
                                    99
                                      99
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 358 of 362 Page ID #:358




                                     9 9
                                   9!9
                                     99
                                   99
                                      9"9
                                    99
                                     99
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 359 of 362 Page ID #:359




                                     99
                                     99
                                   99
                                    9"9
                                   99
                                     9!9
                                     9 9
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 360 of 362 Page ID #:360




                                  9"9
                                    99
                                  99
                                    9  9
                                    9!9
                                     99
                                     99
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 361 of 362 Page ID #:361




                                     9 9
                                     9"9
                                     99
                                    99
                                    9!9
Case 2:24-cv-02642-FMO-MAR Document 1 Filed 03/29/24 Page 362 of 362 Page ID #:362




                                    99
                                  9!9
                                    99
                                  ;;<
                                   ;;<
                                  99
                                  9"9
                                   9  9
                                  99
                                  9!9
                                   99
